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                            IN THE SUPERIOR COURT OF GWINNETT COUNTY

                                                 STATE OF GEORGIA
Northstar Healthcare Consulting, LLC

                                                                                       47A 01468-6
                                                                                   CIVIL ACTION
                                                                                   NUMBER:

                                     PLAINTIFF


                      VS.
Magellan Behavioral Health, Systems, LLC,

Magellan Healthcare, Inc., Magellan

Behavior Services, Inc., et al.

                                     DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff s attorney, whose name
and address is:
       David I. Matthews, Esq.
       Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC                                         ~
       3344 Peachtree Road, NE, Suite 2400
       Atlanta, GA 30326

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This                        day of                                        , 20~.


                                                                           Richard T. Alexander, Jr.,
                                                                           ,Clerk of Superior Court



                                                                           By
                                                                                        Deputll Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

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                                                                                   GAPNNi~c"f GCUCY~"(Y, GA
                        IN THE SUPERIOR COURT OF GWINNETT COUNTY
                                     STATE OF GEORGIA         2017 FE$ ( 7 P M
                                                                             I ;:53

    NORTHSTAR HEALTHCARE
    CONSULTING, LLC,                                 :

           Plaintiff,                                :
                                                     : CIVIL ACTION `    ~~, 7 A p 14 6 g- 6
    v
                                                         FILE NO.
    MAGELLAN BEHAVIORAL HEALTH        :
    SYSTEMS, LLC, MAGELLAN            :
    HEALTHCARE, INC., MAGELLAN        :
    BEHAVIORAL SERVICES, INC.,        :
    MAGELLAN HEALTH, INC., MAGELLAN :
    HEALTHCARE OF GEORGIA, INC.,      :
    MAGELLAN MEDICAID                 :
    ADMINISTRATION, INC., MAGELLAN RX :
    MANAGEMENT, LLC                   :

I          Defendants.


                                             COMPLAINT

           COMES NOW NorthStar Healthcare Consulting, LLC ("NorthStar"), by and through

    its undersigned counsel of record and files this Complaint against Magellan Behavioral Health

    Systems, LLC, Magellan Healthcare, Inc., Magellan Behavioral Services, Inc., Magellan Health,

    Inc., Magellan Healthcare of Georgia, Inc., Magellan Medicaid Administration, Inc., and

    Magellan Rx Management, LLC (sometimes collectively referred to as "Defendants" or

    "Magellan"), and hereby declares as follows:

                           THE PARTIES, JURISDICTION, AND VENUE



           NorthStar is an active/compliant domestic, limited liability company, duly authorized and

    registered to do business in Georgia, with its principal office at 1121 Alderman Drive, Suite 112,

    Fulton County, Alpharetta, Georgia 30005.
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                                                 Pi


        Magellan Behavioral Health Systems, LLC is a foreign, for-profit corporation organized

under the laws of the State of Utah with a principal office in the State of Maryland and licensed

to do business in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr.,

Columbia, Maryland 21046. Magellan Behavioral Health Systems, LLC and its affiliates

solicited services from and contracted with NorthStar as set forth herein. Service can be made

on Magellan Behavioral Health Systems, LLC by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                 a
       Magellan Healthcare, Inc. is a foreign, for-profit corporation organized under the laws of

the State of Delaware with a principal office in the State of Maryland and licensed to do business

in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr., Columbia,

Maryland 21046. Magellan Healthcare, Inc. and its affiliates solicited services from and

contracted with NorthStar as set forth herein. Service can be made on Magellan Healthcare, Inc.

by serving its registered agent: Corporation Service Company, 40 Technology Parkway South,

Suite 300, Norcross, Gwinnett County, Georgia 30092.

                                                 a
       Magellan Behavioral Services, Inc. is a foreign, for-profit corporation organized under

the laws of the State of Delaware with a principal office in the State of Maryland and licensed to

do business in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr.,

Columbia, Maryland 21046. Magellan Behavioral Services, Inc. and its affiliates solicited

services from and contracted with NorthStar as set forth herein. Service can be made on



                                                2
          Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 4 of 105



Magellan Behavioral Services, Inc. by serving its registered agent: Corporation Service

Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia

30092.

                                                  5

         Magellan Health, Inc. is a foreign, for-profit corporation organized under the laws of the

State of Delaware with a principal office in the State of Arizona and licensed to do business in in

the State of Georgia, with its principal office at 4800 N. Scottdale Rd., Suite 4400, Scottsdale,

Arizona 85251. Magellan Health, Inc. and its affiliates solicited services from and contracted

with NorthStar as set forth herein. Service can be made on Magellan Health, Inc. by serving its

registered agent: Corporation Service Company, 40 Technology Parkway South, Suite 300,

Norcross, Gwinnett County, Georgia 30092.

                                                  A

         Magellan Healthcare of Georgia, Inc. is a domestic, for-profit corporation organized

under the laws of the State of Georgia with a principal office in the State of Maryland and

licensed to do business in in the State of Georgia, with its principal office at 6950 Columbia

Gateway Dr., Columbia, Maryland 21046. Magellan Healthcare of Georgia, Inc. and its

affiliates solicited services from and contracted with NorthStar as set forth herein. Service can

be made on Magellan Healthcare of Georgia, Inc. by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                  -Fi

         Magellan Medicaid Administration, Inc. is a foreign, for-profit corporation organized

under the laws of the State of Virginia with a principal office in the State of Virginia and



                                                 3
         Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 5 of 105



licensed to do business in in the State of Georgia, with its principal office at 11013 W. Broad

Street, Suite 500, Glen Allen, Virginia 23060. Magellan Medicaid Administration, Inc. and its

affiliates solicited services from and contracted with NorthStar as set forth herein. Service can

be made on Magellan Medicaid Administration, Inc. by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                  :

        Magellan Rx Management, LLC is a foreign, limited liability company organized under

the laws of the State of Delaware with a principal office in the State of Arizona and licensed to

do business in in the State of Georgia, with its principal office at 15950 N. 76`h Street, #200,

Scottsdale, Arizona 85260. Magellan Rx Management, LLC and its affiliates solicited services

from and contracted with NorthStar as set forth herein. Service can be made on Magellan Rx

Management, LLC by serving its registered agent: Corporation Service Company, 40

Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia 30092.

                                                 a
       This Court has subject matter jurisdiction over all claims brought herein because the

Defendants each maintain a registered agent in the state of Georgia, transact business in Georgia,

and the claims are within the Superior Court's general jurisdiction.

                                                 10.

       Venue lies in the Superior Court of Gwinnett County, Georgia, because the Defendants

all maintain a registered agent in Gwinnett County.




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                                   STATEMENT OF FACTS

                                                     11.

        NorthStar repeats and re-alleges paragraphs 1 through 10 of the Complaint as if fully set

forth herein.

                                                  12.

        On or about April 10, 2013, NorthStar entered into a contract to provide certain services

to Magellan (the "Contract"), including the sale of certain pharmacy audits and generation,

production, mailing, and tracking of outcomes relative to Verification of Benefits Letters

services ("Services").

                                                  13.

       The Contract was drafted by Magellan.

                                                  14.

       The Contract is governed by and in accordance with the laws of the State 'of Illinois.

                                                  15.

       NorthStar's scope of work was defined by the Contract and attachments. Magellan has a
                                                                              ~
copy of the Contract in its possession, custody, and control.

                                                  16.

        One of the clients that was serviced pursuant to the Contract was TennCare—the state

Medicaid program for the State of Tennessee.

                                                  17.

       In order to perform its Services under the Contract, NorthStar utilized and further

developed confidential and proprietary algorithms that are designed to find pharmacy claims that




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are fraudulently, erroneously, or suspiciously filed, among other things ("Proprietary

Information")

                                                1F3

      The Contract contains a confidentiality provision that states as follows:

      Confidential Information shall mean and include any financial, operational,
      technical and other information relating to the past, present and future businesses
      and affairs of the party disclosing the information (the "Disclosing Party"), which
      information is provided to the other party (the "Receiving Party"), whether such
      information is provided in written, oral, graphic, pictorial or recorded form or
      stored on computer disks, hard drives, magnetic tape or digital or any other
      electronic medium. The Receiving party shall use reasonable efforts to ensure that
      Confidential Information is not disclosed to any third party, except employees and
      agents as require. Confidential information provided to Seller pursuant to this
      Agreement shall, at Magellan's direction, forthwith be returned to Magellan or be
      destroyed, together with all copies made by Seller and by anyone to whom such
      confidential information has been made available by Seller. It is understood that
      the term "Confidential Information" does not mean and shall not include
      information which:

          o now is or hereinafter becomes part of the public domain without
            breach of any, obligation owed to the Disclosing Party;
          o prior to disclosure hereunder is within the possession of the
            Receiving Party, provided that such Confidential Information is not
            the subject of another confidentiality agreement with or other
            obligation of secrecy to the Disclosing Party;
          • is disclosed with the prior written approval of the Disclosing Party;
          o is obligated to be produced under order of a court of competent
            jurisdiction or a valid administrative, congressional, or other
            subpoena, civil investigative demand or similar process; provided,
            however, that upon issuance of any such order, subpoena, demand or
            other process, the Receiving Party shall promptly notify the
            Disclosing Party so that to allow the potential opportunity to obtain a
            protective order;
          o is independently developed by the Receiving Party without any
            breach of this Agreement, as evidenced by its contemporaneous
            written records; or
          o is necessary to establish rights or enforce obligations under this
            Agreement.




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                                                    19.

        On or about August 14, 2013, Magellan represented to NorthStar that it needed

NorthStar's proprietary information for an internal audit.

                                                    20.

       NorthStar rejected Magellan's request for its Proprietary Information citing the sensitive

and confidential nature of the information.

                                                    21.

       On or about August 14, 2013, Magellan again requested NorthStar's Proprietary

Information stating that its mutual client, TennCare, was requesting the information.

                                                    22.

       Based on the representation that TennCare was requesting the information, NorthStar sent

a document to Magellan containing the Proprietary Information, with very minor modifications

made specific to TennCare to reflect its laws and policies.

                                                    23.

       Thereafter, Defendants rebranded NorthStar's Proprietary Information and posted it on its

website. Based upon information and belief, the Proprietary Information that NorthStar sent to

Magellan—with minor modifications made specific to TennCare to reflect its laws and

policies—was never disseminated to TennCare.

                                                    FM

       As of the filing of this Complaint, Defendants wrongfully continued to make NorthStar's

Proprietary Information available on its website.




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                                                                    25.


                 NorthStar:;:has repeatedly derrianded , that Defendants cease making NorthStar's

         Proprietary Information publicly available. However, Defendants continued to use said

         Proprietary Inforrnation at certain times.

                                                           '.COUNT I

                          _-;..=;_:::BREACH OF CONTRACT
                                                    .
                                                        AG~
                                       ....

                                                                    26.


                 NorthS.tar.repeats and re-alleges paragraphs 1 through 24 of the Complaint as if fully set

         forth herein.

                                                                    27.


                 Under the Contract, Defendants were - prohibited from disclosing confidential

         information, iriel,ucling operations, technical.; and other information to any third party, except as
                            ,. . •~~

         required by erri~h~ees and agents.
                           ' ~_: w•,`•:F;             .'`~~'f~-`'
                                                                    28.


                 Defendants breached the Contract by disclosing, without justification, NorthStar's

         Proprietary Information on its website. Defendants have been in breach of the Contract since at

         least November 15, 2016, and continue to be in breach of the Contract as of the filing of this

         Complaint. Defendants may have committed additional breaches of the Contract.

                                                                    29.


                 As the direct and proximate result of Defendants' breach of contract, NorthStar has

         suffered damages.
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                                                   30.

       NorthStar has satisfied all conditions precedent entitling it to recover for breach of the

Contract.

        WHEREFORE NorthStar respectfully requests that it be awarded all damages for breach

of contract as are proven at trial, together with interest, costs and attorneys' fees.

                                             COUNT II

                       UNJUST ENRICHMENT/QUANTUM MERUIT

                                                   31.

       NorthStar repeats and re-alleges paragraphs 1 through 29 of the Complaint as if fully set

forth herein.

                                                   32.

       In the alternative, NorthStar conferred a benefit upon Defendants by rendering services

and providing materials in furtherance of Defendants' business as described herein.

                                                    33.

       Defendants solicited, accepted and benefitted from, and have been unjustly enriched by

the Proprietary Information provided to it by NorthStar as described above, to the detriment of

NorthStar, for which NorthStar has not been compensated.

                                                   34.

       Defendants knowingly retained their ill-gotten benefit, and it would be unjust for them to

retain the same without full compensation of NorthStar.

                                                    35.

        As a direct and proximate result of Defendants being unjustly enriched, NorthStar

incurred damages.



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i


             WHEREFORE NorthStar respectfully requests all damages for unjust enrichment as are

    proven at trial, together with interest, costs and attorney's fees.

                                                 COUNT III

                           BREACH OF ILLINOIS TRADE SECRETS ACT
    ,
                                                       Me

             NorthStar repeats and re-alleges paragraphs 1 through 34 of the Complaint as if fully set

    forth herein.

                                                       37.

             Defendants breached the Illinois Trade Secrets Act, codified at 765 Ill. Comp. Stat. Ann.

    1065/2, by, among other things, acquiring NorthStar's Proprietary Information while knowing

    that the Proprietary Information belonged to NorthStar and that it was acquired by improper

    means.

                                                       38.

             Defendants breached the Illinois Trade Secrets Act, codified at 765 Ill. Comp. Stat. Ann.

    1065/2, by, among other things, disclosing NorthStar's Proprietary Information without express

    or implied consent after acquiring such information through improper means.

                                                       39.

             As a direct and proximate result of Defendants breaching the Illinois Trade Secrets Act,

    NorthStar incurred damages.

             WHEREFORE NorthStar respectfully requests all damages for breach of the Illinois

    Trade Secrets Act as are proven at trial, together with interest, costs and attorney's fees.




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          BREACH OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT

                                                     m
            NorthStar repeats and re-alleges paragraphs 1 through 38 of the Complaint as if fully set

    forth herein.

                                                     41.

           Defendants breached the Illinois Uniform Deceptive Trade Practices Act, codified at 815

    Ill. Comp. Stat. Ann. 510/2, by, among other things, passing off NorthStar's Proprietary

    Information as its own.

                                                     42.

           Defendants further breached the Illinois Uniform Deceptive Trade Practices Act, codified

    at 815 Ill. Comp. Stat. Ann. 510/2, by causing confusion and misunderstanding as to the source,

    sponsorship, approval, or certification of NorthStar's Proprietary Information.

                                                     m
           As a direct and proximate result of Defendants breaching the Illinois Uniform Deceptive

    Trade Practices Act, NorthStar incurred damages.

           WHEREFORE NorthStar respectfully requests that it be awarded all damap-es for breach

    of the Uniform Deceptive Trade Practices Act as are proven at trial, together with interest, costs

    and attorney's fees.
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                                           COUNT V

                                    INJUNCTIVE RELIEF



       NorthStar repeats and re-alleges paragraphs 1 through 42 of the Complaint as if fully set

forth herein.

                                                  45.

       Defendants continue to violate the Contract by the continued publication of NorthStar's

Proprietary Information on Defendants' website.

                                                0
       NorthStar is entitled to injunctive relief pursuant to 765 Ill. Comp. Stat. Ann. 1065/3 as

actual misappropriation may be enjoined in order to eliminate the commercial advantage that

would otherwise be derived from the misappropriation.

                                                  47.

       NorthStar is entitled to injunctive relief pursuant to 815 Ill. Comp. Stat. Ann. 510/3 as

NorthStar is likely to be damaged by the deceptive trade practices of Defendants.

                                                .~
      Further, paragraph 14 of the Contract provides as follows:

       Since the violation by the Receiving Party of the provisions of this section could
       cause irreparable harm to the Disclosing Party and there is no adequate remedy at
       law for such violation, Disclosing Party shall have the right, in addition to any
       other remedies available to it at law or in equity, to enjoin the Receiving Party
       from violating such provisions.

WHEREFORE NorthStar is entitled to injunctive relief as against Defendants.




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           Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 14 of 105
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       4    ,    .



           WHEREFORE, NorthStar prays for:

           (a)       Breach of contract damages against Defendants in an amount to be proven at trial;

           (b)       Alternatively, unjust enrichment or quantum meruit damages against Defendants

                     in an amount to be proven at trial;

           (c)       Damages pursuant to the Illinois Trade Secrets Act;

           (d)       Damages pursuant to the Illinois Uniform Deceptive Trade Practices Act;

           (e)       Injunctive Relief;

           (f)       Costs of the suit incurred herein;

           (g)       Reasonable attorneys' fees;

           (h)       Interest at the legal rate until paid in full;

           (i)       Trial by jury on issues so triable; and

           (j)       Such other and further relief as the Court may deem just and proper.



           DATED: February 17, 2017.

                                                      WEINBERG, WHEELER, HUDGINS,
                                                      GUNN & DIAL, LLCG(



                                                      Ge,-'
                                                          osgia Bar No.: 47751
                                                      George        een, Jr.
                                                      Georgia Bar No..—O 716

                                                      Attorneys for Plaintiff, NorthStar Healthcare
                                                      Consulting, LLC

    3344 Peachtree Road, Suite 2400
    Atlanta, Georgia 30326
    404-876-2700
    404-875-9433 Fax
    dmatthews(a!wwhgd.com
    gp,reen(c~wwhgd.com


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                       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 15 of 105
     SHERIFF'S 16NTRY OF SERVICE
     ~ ::~
       ~r ~` <                                                                      Superior Court        [~          Magistrate Court      ❑
     Civil Action No.                                                     ~       S Sta CQurt             ❑           Probate Court         ❑
                                                                              6     Juv~ile" Court        ❑
     Date Filed
                                                                                    Georgia, G.Au'      S ~ ~~ ~~                 COUNTY
     Attorney's Address                                                            NnyI h s)r,-A Y-
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                       ~ne-el~~,
                        vv                                     ji~S                 .J                                                 Plaintiff

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     Na m e an~d Address of Party~t be Served.                                      _
             ``                                          ~tI ~
     R1Gt ~ 1 1n I~1          ~~ y', ~. ~/ 1 t~ Y Gi ~ ~L~ 7 Yi                                                                     Defendant
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             Te ~ l~ ~~ ~~~;,~- ~ ~~ >- ~~~~~,~ G:~~~~ i-,                    , .~.~ .           ~r~o
                                                                                                                                     Garnishee
     IV                              j~i             SHERIFF'S ENTRY OF SERVICE
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~
o❑        I have this day served to defendant                                                                            personally with a copy
z         of the within action and summons.
w
a,


  I have this day served the defendant                                                                                             by leavirig a
M copy of the action and summons at his most notorious place of abode in this County.
~
~ ~I      Delivered same into hands of                                                                                    described as follows:
0         age, about                     years; weight                        pounds; height, about        feet and         inches, domiciled
z
          at the residence of defendant.


          Served the defendant                                                                                                   a corporation
          by leaving a copy of the within action and summons with
          in charge of the office and place of doing business of said Corporation in this County.



a         I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door
          of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the
~ ❑       United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said summons,
Q         with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the place stated in the
H
          summons.


H
w         Diligent search made and defendant
p ❑       not to be found in the jurisdiction of this Court.
z

          This "`'"l       day of      ~ 'o                     , 20ti
                                                                                        1        ~

                                                                                            G"                                       DEPUTY


          SHERIFF DOCKET                             PAGE
                    WHITE-CLERK CANARY-PLAINTIFF PINK-DEFENDANT
             Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 16 of 105


                            IN THE SUPERIOR COURT OF GWINNETT COUNTY

                                                       STATE OF GEORGIA
Northstar Healthcare Consulting, LLC


                                                                                         ITA
                                                                                    CIVIL ACT10N
                                                                                                                • ,~, .. s;


                                                                                    NUMBER:

                                     1]4:112II111010


                      VS.
Magellan Behavioral Health, Systems, LLC,

Magellan Healthcare, Inc., Magellan

Behavior Services, Inc., et al.

                                     DEFENDANT




                                                          SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff s attorney, whose name
and address is:
       David I. Matthews, Esq.
       Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC
       3344 Peachtree Road, NE, Suite 2400
       Atlanta, GA 30326

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This             -7         day of                                         , 20__L7


                                                                           Richard T. Alexander, Jr.,
                                                                           Clerk of Superior Court




                                                                           BY
                                                                                        Depu Cle

INSTRUCTIONS: Attach addenduni sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

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          Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 17 of 105
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                                                                 CzMIK;NEiT CGUNTY, CA
                        IN THE SUPERIOR COURT OF GWINNETT COUNTY
                         I           STATE OF GEORGIA                   I         : 53
                                                             2-111 FEB I PH 3
    NORTHSTAR HEALTHCARE                             :                                   7 x,,NN0-Lit. CLirM
                                                                              i~MtARp AL1.
    CONSULTING, LLC,                                 :

           Plaintiff,                                :
                                                     : c1vIL ACTI j         A    0 1 4 6 8®6
                                                         FILE NO.
    MAGELLAN BEHAVIORAL HEALTH
    SYSTEMS, LLC, MAGELLAN
    HEALTHCARE, INC., MAGELLAN
    BEHAVIORAL SERVICES, INC.,
    MAGELLAN HEALTH, INC., MAGELLAN
    HEALTHCARE OF GEORGIA, INC.,
    MAGELLAN MEDICAID
    ADMINISTRATION, INC., MAGELLAN RX
    MANAGEMENT, LLC

           Defendants.


                                             COMPLAINT

           COMES NOW NorthStar Healthcare Consulting, LLC ("NorthStar"), by and through

    its undersigned counsel of record and files this Complaint against Magellan Behavioral Health

    Systems, LLC, Magellan Healthcare, Inc., Magellan Behavioral Services, Inc., Magellan Health,

    Inc., Magellan Healthcare of Georgia, Inc., Magellan Medicaid Administration, Inc., and

    Magellan Rx Management, LLC (sometimes collectively referred to as "Defendants" or

    "Magellan"), and hereby declares as follows:

                           THE PARTIES, JURISDICTION, AND VENUE



           NorthStar is an active/compliant domestic, limited liability company, duly authorized and

    registered to do business in Georgia, with its principal office at 1 121 Alderman Drive, Suite 112,

    Fulton County, Alpharetta, Georgia 30005.
      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 18 of 105




                                                 Q

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to do business in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr.,

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Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                 3.

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                                                 n
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services from and contracted with NorthStar as set forth herein. Service can be made on



                                                2
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 19 of 105




Magellan Behavioral Services, Inc. by serving its registered agent: Corporation Service

Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia

30092.

                                                  5.

         Magellan Health, Inc. is a foreign, for-profit corporation organized under the laws of the

State of Delaware with a principal office in the State of Arizona and licensed to do business in in

the State of Georgia, with its principal office at 4800 N. Scottdale Rd., Suite 4400, Scottsdale,

Arizona 85251. Magellan Health, Inc. and its affiliates solicited services from and contracted

with NorthStar as set forth herein. Service can be made on Magellan Health, Inc. by serving its

registered agent: Corporation Service Company, 40 Technology Parkway South, Suite 300,
                                                                             ,
Norcross, Gwinnett County, Georgia 30092.

                                                  0

         Magellan Healthcare of Georgia, Inc. is a domestic, for-profit corporation organized

under the laws of the. State of Georgia with a principal office in the State of Maryland and

licensed to do business in in the State of Georgia, with its principal office at 6950 Columbia

Gateway Dr., Columbia, Maryland 21046. Magellan Healthcare of Georgia, Inc. and its

affiliates solicited services from and contracted with NorthStar as set forth herein. Service can

be made on Magellan Healthcare of Georgia, Inc. by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                  7.

         Magellan Medicaid Administration, Inc. is a foreign, for-profit corporation organized

under the laws of the State of Virginia with a principal office in the State of Virginia and



                                                 3
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licensed to do business in in the State of Georgia, with its principal office at 11013 W. Broad

Street, Suite 500, Glen Allen, Virginia 23060. Magellan Medicaid Administration, Inc. and its

affiliates solicited services from and contracted with NorthStar as set forth herein. Service can

be made on Magellan Medicaid Administration, Inc. by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.


    9
        Magellan Rx Management, LLC is a foreign, limited liability company organized under

the laws of the State of Delaware with a principal office in the State of Arizona and licensed to

do business in in the State of Georgia, with its principal office at 15950 N. 76`h Street, #200,

Scottsdale, Arizona 85260. Magellan Rx Management, LLC and its affiliates solicited services

from and contracted with NorthStar as set forth herein. Service can be made on Magellan Rx

Management, LLC by serving its registered agent: Corporation Service Company, 40

Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia 30092.

                                                 im


        This Court has subject matter jurisdiction over all claims brought herein because the

Defendants each maintain a registered agent in the state of Georgia, transact business in Georgia,

and the claims are within the Superior Court's general jurisdiction.

                                                 10.

        Venue lies in the Superior Court of Gwinnett County, Georgia, because the Defendants

all maintain a registered agent in Gwinnett County.




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                                   STATEMENT OF FACTS



       NorthStar repeats and re-alleges paragraphs 1 through 10 of the Complaint as if fully set

forth herein.

                                                  12.

       On or about April 10, 2013, NorthStar entered into a contract to provide certain services

to Magellan (the "Contract"), including the sale of certain pharmacy audits and generation,

production, mailing, and tracking of outcomes relative to Verification of Benefits Letters

services ("Services")

                                                  13.

       The Contract was drafted by Magellan.

                                                  14.

       The Contract is governed by and in accordance with the laws of the State 'of Illinois.

                                                  15.

       NorthStar's scope of work was defined by the Contract and attachments. Magellan has a

copy of the Contract in its possession, custody, and control.

                                                  16.

        One of the clients that was serviced pursuant to the Contract was TennCare—the state

Medicaid program for the State of Tennessee.

                                                  17.

       In order to perform its Services under the Contract, NorthStar utilized and further

developed confidential and proprietary algorithms that are designed to find pharmacy claims that




                                                 5
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are fraudulently, erroneously, or suspiciously filed, among other things ("Proprietary

Information").

                                                18.

      The Contract contains a confidentiality provision that states as follows:

      Confidential Information shall mean and include any financial, operational,
      technical and other information relating to the past, present and future businesses
      and affairs of the party disclosing the information (the "Disclosing Party"), which
      information is provided to the other party (the "Receiving Party"), whether such
      information is provided in written, oral, graphic, pictorial or recorded form or
      stored on computer disks, hard drives, magnetic tape or digital or any other
      electronic medium. The Receiving party shall use reasonable efforts to ensure that
      Confidential Information is not disclosed to any third party, except employees and
      agents as require. Confidential information provided to Seller pursuant to this
      Agreement shall, at Magellan's direction, forthwith be returned to Magellan or be
      destroyed, together with all copies made by Seller and by anyone to whom such
      confidential information has been made available by Seller. It is understood that
      the term "Confidential Information" does not mean and shall not include
      information which:

          •   now is or hereinafter becomes part of the public domain without
              breach of any obligation owed to the Disclosing Party;
          •   prior to disclosure hereunder is within the possession of the
              Receiving Party, provided that such Confidential Information is not
              the subject of another confidentiality agreement with or other
              obligation of secrecy to the Disclosing Party;
          •   is disclosed with the prior written approval of the Disclosing Party;
          •   is obligated to be produced under order of a court of competent
              jurisdiction or a valid administrative, congressional, or other
              subpoena, civil investigative demand or similar process; provided,
              however, that upon issuance of any such order, subpoena, demand or
              other process, the Receiving Party shall promptly notify the
              Disclosing Party so that to allow the potential opportunity to obtain a
              protective order;
          •   is independently developed by the Receiving Party without any
              breach of this Agreement, as evidenced by its contemporaneous
              written records; or
          •   is necessary to establish rights or enforce obligations under this
              Agreement.




                                               no
      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 23 of 105



                                                    19.

        On or about August 14, 2013, Magellan represented to NorthStar that it needed

NorthStar's proprietary information for an internal audit.

                                                    20.

       NorthStar rejected Magellan's request for its Proprietary Information citing the sensitive

and confidential nature of the information.

                                                    21.

       On or about August 14, 2013, Magellan again requested NorthStar's Proprietary

Informati'on stating that its mutual client, TennCare, was requesting the information.

                                                    22.

       Based on the representation that TennCare was requesting the information, NorthStar sent

a document to Magellan containing the Proprietary Information, with very minor modifications

made specific to TennCare to reflect its laws and policies.

                                                    23.

       Thereafter, Defendants rebranded NorthStar's Proprietary Information and posted it on its

website. Based upon information and belief, the Proprietary Information that NorthStar sent to

Magellan—with minor modifications made specific to TennCare to reflect its laws and

policies—was never disseminated to TennCare.

                                                    24.

       As of the filing of this Complaint, Defendants wrongfully continued to make NorthStar's

Proprietary Information available on its website.




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                                                25.

       NorthStar has repeatedly demanded that Defendants cease making NorthStar's

Proprietary Information publicly available.      However, Defendants continued to use said

Proprietary Information at certain times.

                                            COUNTI

                    BREACH OF CONTRACT AGAINST DEFENDANTS

                                                26.

       NorthStar repeats and re-alleges paragraphs 1 through 24 of the Complaint as if fully set

forth herein.

                                                27.

       Under the Contract, Defendants were - prohibited from disclosing confidential

information, including operations, technical, and other information to any third party, except as

required by employees and agents.

                                                28.

       Defendants breached the Contract by disclosing, without justification, NorthStar's

Proprietary Information on its website. Defendants have been in breach of the Contract since at

least November 15, 2016, and continue to be iri breach of the Contract as of the filing of this

Complaint. Defendants may have committed additional breaches of the Contract.

                                                29.

       As the direct and proximate result of Defendants' breach of contract, NorthStar has

suffered damages.




                                                :
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                                                    30.

       NorthStar has satisfied all conditions precedent entitling it to recover for breach of the

Contract.

        WHEREFORE NorthStar respectfully requests that it be awarded all damages for breach

of contract as are proven at trial, together with interest, costs and attorneys' fees.

                                              COUNT II

                       UNJUST ENRICHMENT/QUANTUM MERUIT

                                                    31.

       NorthStar repeats and re-alleges paragraphs 1 through 29 of the Complaint as if fully set

forth herein.

                                                    32.

       In the alternative, NorthStar conferred a benefit upon Defendants by rendering services

and providing materials in furtherance of Defendants' business as described herein.

                                                    33.

       Defendants solicited, accepted and benefitted from, and have been unjustly enriched by

the Proprietary Information provided to it by NorthStar as described above, to the detriment of

NorthStar, for which NorthStar has not been compensated.

                                                    34.

       Defendants knowingly retained their ill-gotten benefit, and it would be unjust for them to

retain the same without full compensation of NorthStar.

                                                    35.

       As a direct and proximate result of Defendants being unjustly enriched, NorthStar

incurred damages.



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         WHEREFORE NorthStar respectfully requests all damages for unjust enrichment as are

proven at trial, together with interest, costs and attorney's fees.

                                             COUNT III

                       BREACH OF ILLINOIS TRADE SECRETS ACT

                                                    36.

         NorthStar repeats and re-alleges paragraphs 1 through 34 of the Complaint as if fully set

forth herein.

                                                    37.

         Defendants breached the Illinois Trade Secrets Act, codified at 765 Ill. Comp. Stat. Ann.

1065/2, by, among other things, acquiring NorthStar's Proprietary Information while knowing

that the Proprietary Information belonged to NorthStar and that it was acquired by improper

means.

                                                    38.

         Defendants breached the Illinois Trade Secrets Act, codified at 765 I11. Comp. Stat. Ann.

1065/2, by, among other things, disclosing NorthStar's Proprietary Information without express

or implied consent after acquiring such information through improper means.

                                                    39.

         As a direct and proximate result of Defendants breaching the Illinois Trade Secrets Act,

NorthStar incurred damages.

         WHEREFORE NorthStar respectfully requests all damages for breach of the Illinois

Trade Secrets Act as are proven at trial, together with interest, costs and attorney's fees.




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                                           COUNT IV

      BREACH OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT

                                                 Ki

       NorthStar repeats and re-alleges paragraphs 1 through 38 of the Complaint as if fully set

forth herein.

                                                 41.

       Defendants breached the Illinois Uniform Deceptive Trade Practices Act, codified at 815

I11. Comp. Stat. Ann. 510/2, by, among other things, passing off NorthStar's Proprietary

Information as its own.

                                                 42.

       Defendants further breached the Illinois Uniform Deceptive Trade Practices Act, codified

at 815 I11. Comp. Stat. Ann. 510/2, by causing confusion and misunderstanding as to the source,

sponsorship, approval, or certification of NorthStar's Proprietary Information.

                                                 43.

       As a direct and proximate result of Defendants breaching the Illinois Uniform Deceptive

Trade Practices Act, NorthStar incurred damages.

       WHEREFORE NorthStar respectfull_y requests that it be awarded all damages for breach

of the Uniform Deceptive Trade Practices Act as are proven at trial, together with interest, costs

and attorney's fees.
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                                           COUNT V

                                    INJUNCTIVE RELIEF



       NorthStar repeats and re-alleges paragraphs 1 through 42 of the Complaint as if fully set

forth herein.

                                                  45.

       Defendants continue to violate the Contract by the continued publication of NorthStar's

Proprietary Information on Defendants' website.

                                                  46.

       NorthStar is entitled to injunctive relief pursuant to 765 Ill. Comp. Stat. Ann. 1065/3 as

actual misappropriation may be enjoined in order to eliminate the commercial advantage that

would otherwise be derived from the misappropriation.

                                                  47.

       NorthStar is entitled to injunctive relief pursuant to 815 Ill. Comp. Stat. Ann. 510/3 as

NorthStar is likely to be damaged by the deceptive trade practices of Defendants.

                                                .~
      Further, paragraph 14 of the Contract provides as follows:

       Since the violation by the Receiving Party of the provisions of this section could
       cause irreparable harm to the Disclosing Party and there is no adequate remedy at
       law for such violation, Disclosing Party shall have the right, in addition to any
       other remedies available to it at law or in equity, to enjoin the Receiving Party
       from violating such provi`sions.

WHEREFORE NorthStar is entitled to injunctive relief as against Defendants.




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       WHEREFORE, NorthStar prays for:

      (a)    Breach of contract damages against Defendants in an amount to be proven at trial';

      (b)    Alternatively, unjust enrichment or quantum meruit damages against Defendants

              in an amount to be proven at trial;

      (c)    Damages pursuant to the Illinois Trade Secrets Act;

      (d)    Damages pursuant to the Illinois Uniform Deceptive Trade Practices Act;

      (e)     Injunctive Relief;

      (f)    Costs of the suit incurred herein;

      (g)    Reasonable attorneys' fees;

      (h)    Interest at the legal rate until paid in full;

      (i)    Trial by jury on issues so triable; and

      (j)    Such other and further relief as the Court may deem just and proper.



      DATED: February 17, 2017.

                                              WEINBERG, WHEELER, HUDGINS,
                                              GUNN & DIAL, LLq


                                              ~. MatthewV— I
                                              Ge ia Bar No.: 47751
                                              George      een, Jr.
                                              Georgia Bar No.:     716

                                              Attorneys for Plaintiff, NorthStar Healthcare
                                              Consulting, LLC

3344 Peachtree Road, Suite 2400
Atlanta, Georgia 30326
404-876-2700
404-875-9433 Fax
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          SHERIFF'S ENTRY OF SERVICE
                                                                                               Superior Court                         Magistrate Court         ❑
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           Civil Action No.                                                               6 8 ~a Court                ❑               Probate Court            ❑
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          Attorney's Address
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          Name and Address of Party to be Served.                                                ,.      Q
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                                                                 SHERIFF S ENTRY OF SERVICE
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  a
  o❑              I have this day served to defendant                                                                                    personally with a copy
  ~               of the within action and summons.
  w
  o.


                  I have this day served the defendant                                                                                              by leaving a
  ~
  a               copy of the action and summons at his most notorious place of abode in this County.
  0
  x ❑
 0                Delivered same into hands of                                                                                            described as follows:
 F
 0                age, about                     years; weight                            pounds; height, about            feet and         inches, domiciled
  z
                  at the residence of defendant.

                                                            fi
  ~               Served the defendant      L' v'"                                                                                                a corporation
  ~ ❑             by leaving a copy of the within action and summons with           l~' ~t'~ ~~'~ F`~

                  in charge of the office and place of doing business of said Corporation in this County.
  O
  c.~


  ~     I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door
 Q
 ~      of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the
    ❑ . United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said summons,
 xu
        with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the place stated in the
        summons.


 F
  ~               Diligent search made and defendant
  o❑              not to be found in the jurisdiction of this Court.
  z

                  This       7        day of   }    '                   1 20
                                                                                                          ,

                                                                                                                                                        DEPUTY


                  SHERIFF DOCKET                                 PAGE
                             WHITE-CLERK CANARY-PLAINTIFF PINK-DEFENDANT
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                            IN THE SUPERIOR COURT OF GWINNETT COUNTY

                                                 STATE OF GEORGIA
Northstar Healthcare Consulting, LLC



                                                                                   CIVIL ACTION
                                                                                   NUMBER:

                                  PLAINTIFF


                      VS.
Magellan Behavioral Health, Systems, LLC,

Magellan Healthcare, Inc., Magellan

Behavior Services, Inc., et al.

                                DEFENDANT



                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  Vou are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff s attorney, whose name
and address is:
       David I. Matthews, Esq.
       Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC
       3344 Peachtree Road, NE, Suite 2400
       Atlanta, GA 30326

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This          ~~ day of                                                    ,    20__L7


                                                                           Richard T. Alexander, Jr.,
                                                                           Clerk of Superior Court



                                                                           By                                   ,
                                                                                        Dep     Cle

INSTRUCTIONS: Attach addendum sheet, for additional parties if needed, make notation            sheet if addendum sheet is used.

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      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 32 of 105

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                    IN THE SUPERIOR COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA
                                                         2011 FEB II Pri 3): 53
NORTHSTAR HEALTHCARE                             :                         F't'-~',NixRD AL1 ~,',NDCi7. t::.E::i;li
CONSULTING, LLC,                                 :

       Plaintiff,                                :
                                                 : CIVIL ACTION 4?A O 1 4 6 8 — 6 y
V.                                               :
                                                     FILE NO.
MAGELLAN BEHAVIORAL HEALTH        :
SYSTEMS, LLC, MAGELLAN            :
HEALTHCARE, INC., MAGELLAN        :
BEHAVIORAL SERVICES, INC.,        :
MAGELLAN HEALTH, INC., MAGELLAN :
HEALTHCARE OF GEORGIA,INC.,       :
MAGELLAN MEDICAID                 :
ADMINISTRATION, INC., MAGELLAN RX :
MANAGEMENT, LLC                   :

       Defendants.                               :


                                         COMPLAINT

       COMES NOW NorthStar Healthcare Consulting, LLC ("NorthStar"), by and through

its undersigned counsel of record and files this Complaint against Magellan Behavioral Health

Systems, LLC, Magellan Healthcare, Ine., Magellan Behavioral Services, Inc., Magellan Health,

Inc., Magellan Healthcare of Georgia, Inc., Magellan Medicaid Administration, Inc., and

Magellan Rx Management, LLC (sometimes collectively referred to as "Defendants" or

"Magellan"), and hereby declares as follows:

                       THE PARTIES, JURISDICTION, AND VENUE



       NorthStar is an active/compliant domestic, limited liability company, duly authorized and

registered to do business in Georgia, with its principal office at 1121 Alderman Drive, Suite 112,

Fulton County, Alpharetta, Georgia 30005.
      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 33 of 105




                                                 2.

       Magellan, Behavioral Health Systems, LLC is a foreign, for-profit corporation organized

under the laws of the State of Utah with a principal office in the State of Maryland and licensed

to do business in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr.,

Columbia, Maryland 21046. Magellan Behavioral Health Systems, LLC and its affiliates

solicited services from and contracted with NorthStar as set forth herein. Service can be made

on Magellan Behavioral Health Systems, LLC by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                 3.

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                                                2
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 34 of 105




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30092.

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State of Delaware with a principal office in the State of Arizona and licensed to do business in in

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                                                 3
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Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia 30092.

                                                 a
       This Court has subject matter jurisdiction over all claims brought herein because the

Defendants each maintain a registered agent in the state of Georgia, transact business in Georgia,

and the claims are within the Superior Court's general jurisdiction.

                                                 10.

       Venue lies in the Superior Court of Gwinnett County, Georgia, because the Defendants

all maintain a registered agent in Gwinnett County.




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           Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 36 of 105



                                       STATEMENT OF FACTS



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    forth herein.

                                                      12.

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    services ("Services").

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           The Contract is governed by and in accordance with the laws of the State 'of Illinois.

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           NorthStar's scope of work was defined by the Contract and attachments. Magellan has a

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I                                                     17.

           In order to perform its Services under the Contract, NorthStar utilized and further

    developed confidential and proprietary algorithms that are designed to find pharmacy claims that




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      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 37 of 105



are fraudulently, erroneously, or suspiciously filed, among other things ("Proprietary

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                                                  18.

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      technical and other information relating to the past, present and future businesses
      and affairs of the party disclosing the information (the "Disclosing Party"), which
      information is provided to the other party (the "Receiving Party"), whether such
      information is provided in written, oral, graphic, pictorial or recorded form or
      stored on computer disks, hard drives, magnetic tape or digital or any other
      electronic medium. The Receiving party shall use reasonable efforts to ensure that
      Confidential Information is not disclosed to any third party, except employees and
      agents as require. Confidential information provided to Seller pursuant to this
      Agreement shall, at Magellan's direction, forthwith be returned to Magellan or be
      destroyed, together with all copies made by Seller and by anyone to whom such
      confidential information has been made available by Seller. It is understood that
      the term "Confidential Information" does not mean and shall not include
      information which:

          •      now is or hereinafter becomes part of the public domain without
                 breach of any obligation owed to the Disclosing Party;
          •      prior to disclosure hereunder is within the possession of the
                 Receiving Party, provided that such Confidential Information is not
                 the subject of another confidentiality agreement with or other
                 obligation of secrecy to the Disclosing Party;
          •      is disclosed with the prior written approval of the Disclosing Party;
          •      is obligated to be produced under order of a court of competent
                 jurisdiction or a valid administrative, congressional, or other
                 subpoena, civil investigative demand or similar process; provided,
                 however, that upon issuance of any such order, subpoena, demand or
                 other process, the Receiving Party shall promptly notify the
                 Disclosing Party so that to allow the potential opportunity to obtain a
                 protective order;
          •      is independently developed by the Receiving Party without any
                 breach of this Agreement, as evidenced by its contemporaneous
                 written records; or
          •      is necessary to establish rights or enforce obligations under this
                 Agreement.




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                                                    19.

       On or about August 14, 2013, Magellan represented to NorthStar that it needed

NorthStar's proprietary information for an internal audit.

                                                    IFN

       NorthStar rejected Magellan's request for its Proprietary Information citing the sensitive

and confidential nature of the information.

                                                    21.

       On or about August 14, 2013, Magellan again requested NorthStar's Proprietary

Information stating that its mutual client, TennCare, was requesting the information.

                                                    22.

       Based on the representation that TennCare was requesting the information, NorthStar sent

a document to Magellan containing the Proprietary Information, with very minor modifications

made specific to TennCare to reflect its laws and policies.

                                                    23.

       Thereafter, Defendants rebranded NorthStar's Proprietary Information and posted it on its

website. Based upon information and belief, the Proprietary Information that NorthStar sent to

Magellan—with minor modifications made specific to TennCare to reflect its laws and

policies—was never disseminated to TennCare.

                                                    24.

       As of the filing of this Complaint, Defendants wrongfully continued to make NorthStar's

Proprietary Information available on its website.




                                                 7
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                                                25.

       NorthStar has repeatedly demanded that Defendants cease making NorthStar's

Proprietary Information publicly available. However, Defendants continued to use said

Proprietary Information at certain times.

                                            COUNTI

                    BREACH OF CONTRACT AGAINST DEFENDANTS

                                                AM

       NorthStar repeats and re-alleges paragraphs 1 through 24 of the Complaint as if fully set

forth herein.

                                                27.

       Under the Contract, Defendants were - prohibited from disclosing confidential

information, including operations, technical, and other information to any third party, except as

required by employees and agents.

                                                28.

       Defendants breached the Contract by disclosing, without justification, NorthStar's

Proprietary Information on its website. Defendants have been in breach of the Contract since at

least November 15, 2016, and continue to be in breach of the Contract as of the filing of this

Complaint. Defendants may have committed additional breaches of the Contract.

                                                U]

       As the direct and proximate result of Defendants' breach of contract, NorthStar has

suffered damages.




                                               .N
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                                                    30.

       NorthStar has satisfied all conditions precedent entitling it to recover for breach of the

Contract.

        WHEREFORE NorthStar respectfully requests that it be awarded all damages for breach

of contract as are proven at trial, together with interest, costs and attorneys' fees.

                                             COUNTII

                       UNJUST ENRICHMENT/QUANTUM MERUIT

                                                    31.

       NorthStar repeats and re-alleges paragraphs 1 through 29 of the Complaint as if fully set

forth herein.

                                                    32.

       In the alternative, NorthStar conferred a benefit upon Defendants by rendering services

and providing materials in furtherance of Defendants' business as described herein.

                                                    33.

       Defendants solicited, accepted and benefitted from, and have been unjustly enriched by

the Proprietary Information provided to it by NorthStar as described above, to the detriment of

NorthStar, for which NorthStar has not been compensated.

                                                    34.

        Defendants knowingly retained their ill-gotten benefit, and it would be unjust for them to

retain the same without full compensation of NorthStar.

                                                    35.

        As a direct and proximate result of Defendants being unjustly enriched, NorthStar

incurred damages.



                                                   I
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 41 of 105




         WHEREFORE NorthStar respectfully requests all damages for unjust enrichment as are

proven at trial, together with interest, costs and attorney's fees.

                                             COUNT III

                       BREACH OF ILLINOIS TRADE SECRETS ACT

                                                    36.

         NorthStar repeats and re-alleges paragraphs 1 through 34 of the Complaint as if fully set

forth herein.

                                                    37.

         Defendants breached the Illinois Trade Secrets Act, codified at 765 I11. Comp. Stat. Ann.

1065/2, by, among other things, acquiring NorthStar's Proprietary Information while knowing

that the Proprietary Information belonged to NorthStar and that it was acquired by improper

means.

                                                   38.

         Defendants breached the Illinois Trade Secrets Act, codified at 765 Ill. Comp. Stat. Ann.

1065/2, by, among other things, disclosing NorthStar's Proprietary Information without express

or implied consent after acquiring such information through improper means.

                                                   39.

         As a direct and proximate result of Defendants breaching the Illinois Trade Secrets Act,

NorthStar incurred damages.

         WHEREFORE NorthStar respectfully requests all damages for breach of the Illinois

Trade Secrets Act as are proven at trial, together with interest, costs and attorney's fees.




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                                           COUNT IV

      BREACH OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT

                                                 go

        NorthStar repeats and re-alleges paragraphs 1 through 38 of the Complaint as if fully set

forth herein.
  ~                                                                               _

                                                 41.

       Defendants breached the Illinois Uniform Deceptive Trade Practices Act; codified at 815

Ill. Comp. Stat. Ann. 510/2, by, among other things, passing off NorthStar's Proprietary

Information as its own.

                                                 42.

       Defendants further breached the Illinois Uniform Deceptive Trade Practices Act, codified

at 815 Ill. Comp. Stat. Ann. 510/2, by causing confusion and misunderstanding as to the source,

sponsorship, approval, or certification of NorthStar's Proprietary Information.

                                                 43.

       As a direct and proximate result of Defendants breaching the Illinois Uniform Deceptive

Trade Practices Act, NorthStar incurred damages.

       WHEREFORE NorthStar respectfully rectuests that it be awarded all damages for breach

of the Uniform Deceptive Trade Practices Act as are proven at trial, together with interest, costs

and attorney's fees.
      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 43 of 105



                                           COUNT V

                                    INJUNCTIVE RELIEF



       NorthStar repeats and re-alleges paragraphs 1 through 42 of the Complaint as if fully set

forth herein.

                                                  45.

       Defendants continue to violate the Contract by the continued publication of NorthStar's

Proprietary Information on Defendants' website.

                                                M

       NorthStar is entitled to injunctive relief pursuant to 765 Ill. Comp. Stat, Ann. 1065/3 as

actual misappropriation may be enjoined in order to eliminate the commercial advantage that

would otherwise be derived from the misappropriation.

                                                  47.

       NorthStar is entitled to injunctive relief pursuant to 815 Ill. Comp. Stat. Ann. 510/3 as

NorthStar is likely to be damaged by the deceptive trade practices of Defendants.



       Further, paragraph 14 of the Contract provides as follows:

       Since the violation by the Receiving Party of the provisions of this section could
       cause irreparable harm to the Disclosing Party and there is no adequate remedy at
       law for such violation, Disclosing Party shall have the right, in addition to any
       other remedies available to it at law or in equity, to enjoin the Receiving Party
       from violating such provisions.

WHEREFORE NorthStar is entitled to injunctive relief as against Defendants.




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       WHEREFORE, NorthStar prays for:

       (a)    Breach of contract damages against Defendants in an amount to be proven at trial;

       (b)    Alternatively, unjust enrichment or quantum meruit damages against Defendants

              in an amount to be proven at trial;

       (c)    Damages pursuant to the Illinois Trade Secrets Act;

       (d)    Damages pursuant to the Illinois Uniform Deceptive Trade Practices Act;

       (e)    Injunctive Relief;

       (f)    Costs of the suit incurred herein;

       (g)    Reasonable attorneys' fees;

       (h)    Interest at the legal rate until paid in full;

      (i)    Trial by jury on issues so triable; and

      (j)     Such other and further relief as the Court may deem just and proper.



      DATED: February 17, 2017.

                                               WEINBERG, WHEELER, HUDGINS,
                                               GUNN & DIAL, LLCA



                                               Ge ia Bar No.: 47751
                                               George      een, Jr.
                                               Georgia Bar No.:     716

                                               Attorneys for Plaintiff, NorthStar Healthcare
                                               Consulting, LLC

3344 Peachtree Road, Suite 2400
Atlanta, Georgia 30326
404-876-2700
404-875-9433 Fax
dmatthews~a;wwhgd.com
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                      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 45 of 105
      SHERIFF'S ENTRY OF SERVICE
                                                                               uperior Court                        Magistrate Court      ❑
      Civil Action No.                          ~ ~ ~ ~ ~           4 8     ~ ~ate Court                ❑           Probate Court         ❑
                                                                              Juvenile Court            ❑
      Date Filed
                                                                               Georgia, ~ 1 ~ ~~b~ ~                            COUNTY
      Attorney's Address                                                      n~       ~:~`}~
                                                                                  ~j h.~   . ,~b-d-~('C~ I~ ~ C G~ V~ Q...
      ~ ~f: ~/1 ~'~ _~ . ~`~~ G ~ 1~ ~,~~"~,1~ ~ ; ~,. -' ~ •                                                                                    ~
                                                                                 L. C,

                                                                                                                                     Plaintiff
                                                .->
                                                                                                            vS.
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                                                                              ~~ l(,f~~ 1a~1 ~e~iu~ad                                      ,
      Name and Address of Party to be Served.

                        t~cM h i nc                                                                 '                             Defendant
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tit)~~C~1}~J~J(~~~.                                                  '~~
                                                                                                                                   Garnishee

                               f                      SHERIFF'S ENTRY OF SERVICE
 a
 d
 ~ ❑      I have this day served to defendant                                                                          personally with a copy
 a        of the within action and summons.
 w
 a

          I have this day served the defendant                                                                                   by leaving a
 =        copy of the action and summons at his most notorious place of abode in this County.
 =
 x    ❑
 0        Delivered same into hands of                                                                                  described as follows:
 0        age, about                     years; weight                    pounds; height, about          feet and       _ inches, domiciled
 z
          at the residence of defendant.


 o                                , I•.
 ~        Served the defendant '                                                                                                a corporation
 ~©       by leaving a copy of the within action and summons with
 ~        in charge of the office and place of doing business of said Corporation in this County.
 0
 ~

 ~        I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door
 ~        of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the
 04   ❑   United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said summons,
 x
 ~
 F        with adequate postage affixed thereon containing notice to the defendant(s)
                                                                                .     to answer said summons at the place stated in the
          summons.


 F
 ~
          Diligent search made and defendant
 z❑       not to be found in the jurisdiction of this Court.
 0
 z

                                                               20
          This ~               day of


                                                                                                                                   DEPUTY

          SHERIFF DOCKET                              PAGE
                    WHITE-CLERK CANARY-PLAINTIFF PINK-DEFENDANT
             Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 46 of 105


                            IN THE SUPERIOR COURT OF GWINNETT COUNTY

                                                 STATE OF GEORGIA
Northstar Healthcare Consulting, LLC                                      ~ ~Q



                                                                                   CIVIL ACTION
                                                                                   NUMBER:

                                     PLAINTIFF


                      VS.
Magellan Behavioral Health, Systems, LLC,

Magellan Healthcare, Inc., Magellan

Behavior Services, Inc., et al.

                                     DEFENDANT



                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff s attorney, whose name
and address is:
       David I. Matthews, Esq.
       Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC
       3344 Peachtree Road, NE, Suite 2400
       Atlanta, GA 30326

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you~exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This         ~              day of                                         , 20_~2•


                                                                            Richard T. Alexander, Jr.,
                                                                          ` Clqrk of Superior Court



                                                                           By
                                                                                  ~

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on           sheet if addendum sheet is used.

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      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 47 of 105
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                                                                CLEI-iK S',~'r'Cf ;;'~'r~ (~t~URT
                                                                 C;Vi1NR1y T                  GA
                    IN THE SUPERIOR COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA          'Lq O I I FE$ 17 PM 3: 5 3
NORTHSTAR HEALTHCARE                                                                 P,L Cv;,IrDf_it. CLL.iIK
CONSULTING, LLC,                                 :

       Plaintiff,                                :                  TA      ® 14 (~    8® 6
                                                      CIVIL ACT X
V.                                               :
                                  : FILE NO.
MAGELLAN BEHAVIORAL HEALTH        :
SYSTEMS, LLC, MAGELLAN            :
HEALTHCARE, INC., MAGELLAN        :
BEHAVIORAL SERVICES, INC.,        :
MAGELLAN HEALTH, INC., MAGELLAN :
HEALTHCARE OF GEORGIA, INC.,      :
MAGELLAN MEDICAID                 :
ADMINISTRATION, INC., MAGELLAN RX :
MANAGEMENT, LLC                   :

       Defendants.                               :


                                         COMPLAINT

       COMES NOW NorthStar Healthcare Consulting, LLC ("NorthStar"), by and through

its undersigned counsel of record and files this Complaint against Magellan Behavioral Health

Systems, LLC, Magellan Healthcare, Inc., Magellan Behavioral Services, Inc., Magellan Health,

Inc., Magellan Healthcare of Georgia, Inc., Magellan Medicaid Administration, Inc., and

Magellan Rx Management, LLC (sometimes collectively referred to as "Defendants" or

"Magellan"), and hereby declares as follows:

                        THE PARTIES, JURISDICTION, AND VENUE

                                                 1.


       NorthStar is an active/compliant domestic, limited liability company, duly authorized and

registered to do business in Georgia, with its principal office at 1121 Alderman Drive, Suite 112,

Fulton County, Alpharetta, Georgia 30005.
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                                                 2.

       Magellan Behavioral Health Systems, LLC is a foreign, for-profit corporation organized
                                                                                                     ~
under the laws of the State of Utah with a principal office in the State of Maryland and licensed

to do business in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr.,

Columbia, Maryland 21046. Magellan Behavioral Health Systems, LLC and its affiliates

solicited services from and contracted with NorthStar as set forth herein: Service can be made

on Magellan Behavioral Health Systems, LLC by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                 3.

       Magellan Healthcare, Inc. is a foreign, for-profit corporation organized under the laws of

the State of Delaware with a principal office in the State of Maryland and licensed to do business

in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr., Columbia,

Maryland 21046. Magellan Healthcare, Inc. and its affiliates solicited services from and

contracted with NorthStar as set forth herein. Service can be made on Magellan Healthcare, Inc.

by serving its registered agent: Corporation Service Company, 40 Technology Parkway South,

Suite 300, Norcross, Gwinnett County, Georgia 30092.

                                                 a

       Magellan Behavioral Services, Inc. is a foreign, for-profit corporation organized under

the laws of the State of Delaware with a principal office in the State of Maryland and licensed to

do business in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr.,

Columbia, Maryland 21046. Magellan Behavioral Services, Inc. and its affiliates solicited

services ti•om and contracted with NorthStar as set forth herein. Service can be made on



                                                2
      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 49 of 105




Magellan Behavioral Services, Inc. by serving its registered agent: Corporation Service

Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia

30092.

                                                  5.

         Magellan Health, Inc. is a foreign, for-profit corporation organized under the laws of the

State of Delaware with a principal office in the State of Arizona and licensed to do business in in

the State of Georgia, with its principal office at 4800 N. Scottdale Rd., Suite 4400, Scottsdale,

Arizona 85251. Magellan Health, Inc. and its affiliates solicited services from and contracted

with NorthStar as set forth herein. Service can be made on Magellan Health, Inc. by serving its

registered agent: Corporation Service Company, 40 Technology Parkway South, Suite 300,

Norcross, Gwinnett County, Georgia 30092.

                                                  0

         Magellan Healthcare of Georgia, Inc. is a domestic, for-profit corporation organized

under the laws of the State of Georgia with a principal office in the State of Maryland and

licensed to do business in in the State of Georgia, with its principal office at 6950 Columbia

Gateway Dr., Columbia, Maryland 21046. Magellan Healthcare of Georgia, Inc. and its

affiliates solicited services from and contracted with NorthStar as set forth herein. Service can

be made on Magellan Healthcare of Georgia, Inc. by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                  7.

         Magellan Medicaid Administration, Inc. is a foreign, for-profit corporation organized

under the laws of the State of Virginia with a principal office in the State of Virginia and



                                                 3
      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 50 of 105



licensed to do business in in the State of Georgia, with its principal office at 11013 W. Broad

Street, Suite 500, Glen Allen, Virginia 23060. Magellan Medicaid Administration, Inc. and its

affiliates solicited services from and contracted with NorthStar as set forth herein. Service can

be made on Magellan Medicaid Administration, Inc. by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.



       Magellan Rx Management, LLC is a foreign, limited liability company organized under

the laws of the State of Delaware with a principal office •in the State of Arizona and licensed to

do business in in the State of Georgia, with its principal office at 15950 N. 76Ih Street, #200,

Scottsdale, Arizona 85260. Magellan Rx Management, LLC and its affiliates solicited services

from and contracted with NorthStar as set forth herein. Service can be made on Magellan Rx

Management, LLC by serving its registered agent: Corporation Service Company, 40

Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia 30092.

                                                 7

       This Court has subject matter jurisdiction over all claims brought herein because the

Defendants each maintain a registered agent in the state of Georgia, transact business in Georgia,

and the claims are within the Superior Court's general jurisdiction.

                                                 10.

       Venue lies in the Superior Court of Gwinnett County, Georgia, because the Defendants

all maintain a registered agent in Gwinnett County.




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       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 51 of 105

                                                                             ~

                                   STATEMENT OF FACTS



       NorthStar repeats and re-alleges paragraphs 1 through 10 of the Complaint as if fully set

forth herein.

                                                  12.

       On or about April 10, 2013, NorthStar entered into a contract to provide certain services

to Magellan (the "Contract"), including the sale of certain pharmacy audits and generation,

production, mailing, and tracking of outcomes relative to Verification of Benefits Letters

services ("Services")

                                                  13.

       The Contract was drafted by Magellan.

                                                  14.

       The Contract is governed by and, in accordance with the laws of the State 'of Illinois.

                                                  15.

       NorthStar's scope of work was defined by the Contract and attachments. Magellan has a

copy of the Contract in its possession, custody, and control.

                                                  16.

        One of the clients that was serviced pursuant to the Contract was TennCare—the state

Medicaid program for the State of Tennessee.

                                                  17.

       In order to perform its Services under the Contract, NorthStar utilized and further

developed confidential and proprietary algorithms that are designed to find pharmacy claims that




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      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 52 of 105



are fraudulently, erroneously, or suspiciously filed, among other things ("Proprietary

Information")

                                                  18.
                                                                    ~
      The Contract contains a confidentiality provision that states as follows:

      Confidential Information shall mean and include any financial, operational,
      technical and other information relating to the past, present and future businesses
      and affairs of the party disclosing the information (the "Disclosing Party"), which
      information is provided to the other party (the "Receiving Party"), whether such
      information is provided in written, oral, graphic, pictorial or recorded form or
      stored on computer disks, hard drives, magnetic tape or digital or any other
      electronic medium. The Receiving party shall use reasonable efforts to ensure that
      Confidential Information is not disclosed to any third party, except employees and
      agents as require. Corifidential information provided to Seller pursuant to this
      Agreement shall, at Magellan's direction, forthwith be returned to Magellan or be
      destroyed, together with all copies made by Seller and by anyone to whom such
      confidential information has been made available by Seller. It is understood that
      the term "Confidential Information" does not mean and shall not include
      information which:

          •     now is or hereinafter becomes part of the public domain without
                breach of any obligation owed to the Disclosing Party;
          •     prior to disclosure hereunder is within the possession of the
                Receiving Party, provided that such Confidential Information is not
                the subject of another confidentiality agreement with or other
                obligation of secrecy to the Disclosing Party;
          •     is disclosed with the prior written approval of the Disclosing Party;
          •     is obligated to be produced under order of a court of competent
                jurisdiction or a valid administrative, congressional, or other
                subpoena, civil investigative demand or similar process; provided,
                however, that upon issuance of any such order, subpoena, demand or
                other process, the Receiving Party shall promptly notify the
                Disclosing Party so that to allow the potential opportunity to obtain a
                protective order;
          •     is independently developed by the Receiving Party without any
                breach of this Agreement, as evidenced by its contemporaneous
                written records; or
          •     is necessary to establish rights or enforce obligations under this
                Agreement.




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      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 53 of 105



                                                    19.

       On or about August 14, 2013, Magellan represented to NorthStar that it needed

NorthStar's proprietary information for an internal audit.

                                                    I.1

       NorthStar rejected Magellan's request for its Proprietary Information citing the sensitive

and confidential nature of the information.

                                                    21.

       On or about August 14, 2013, Magellan again requested NorthStar's Proprietary

Information stating that its mutual client, TennCare, was requesting the information.

                                                    22.

       Based on the representation that TennCare was requesting the information, NorthStar sent

a document to Magellan containing the Proprietary Information, with very minor modifications

made specific to TennCare to reflect its laws and policies.

                                                    23.

       Thereafter, Defendants rebranded NorthStar's Proprietary Information and posted it on its

website. Based upon information and belief, the Proprietary Information that NorthStar sent to

Magellan—with minor modifications made specific to TennCare to reflect its laws and

policies—was never disseminated to TennCare.

                                                    24.

       As of the filing of this Complaint, Defendants wrongfully continued to make NorthStar's

Proprietary Information available on its website.




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       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 54 of 105



                                                25.

       NorthStar has repeatedly demanded that Defendants cease making NorthStar's

Proprietary Information publicly available. However, Defendants continued to use said

Proprietary Information at certain times.

                                            COUNTI

                    BREACH OF CONTRACT AGAINST DEFENDANTS

                                                26.

       NorthStar repeats and re-alleges paragraphs 1 through 24 of the Complaint as if fully set

forth herein.

                                                27.

       Under the Contract, Defendants were - prohibited from disclosing confidential

information, including operations, technical, and other information to any third party, except as

required by employees and agents.

                                                ►:

       Defendants breached the Contract by disclosing, without justification, NorthStar's

Proprietary Information on its website. Defendants have been in breach of the Contract since at

least November 15, 2016, and continue to be    in breach of the Contract as of the filing of this
Complaint. Defendants may have committed additional breaches of the Contract.



       As the direct and proximate result of Defendants' breach of contract, NorthStar has

suffered damages.




                                               :
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 55 of 105



                                                   30.

       NorthStar has satisfied all conditions precedent entitling it to recover for breach of the

Contract.

        WHEREFORE NorthStar respectfully requests that it be awarded all damages for breach

of contract as are proven at trial, together with interest, costs and attorneys' fees.

                                             COUNT II

                       UNJUST ENRICHMENT/QUANTUM MERUIT

                                                   31.

       NorthStar repeats and re-alleges paragraphs 1 through 29 of the Complaint as if fully set

forth herein.

                                                   32.

       In the alternative, NorthStar conferred a benefit upon Defendants by rendering services

and providing materials in furtherance of Defendants' business as described herein.

                                                   33.

       Defendants solicited, accepted and benefitted from, and have been unjustly enriched by

the Proprietary Information provided to it by NorthStar as described above, to the detriment of

NorthStar, for which NorthStar has not been compensated.

                                                   3!

       Defendants knowingly retained their ill-gotten benefit, and it would be unjust for them to

retain the same without full compensation of NorthStar.

                                                   35.

       As a direct and proximate result of Defendants being unjustly enriched, NorthStar

incurred damages.



                                                   I
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 56 of 105



         WHEREFORE NorthStar respectfully requests all damages for unjust 'enrichment as are

proven at trial, together with interest, costs and attorney's fees.

                                             COUNT III

                       BREACH OF ILLINOIS TRADE SECRETS ACT

                                                   36.

         NorthStar repeats and re-alleges paragraphs 1 through 34 of the Complaint as if fully set

forth herein.

                                                - 37.

         Defendants breached the Illinois Trade Secrets Act, codified at 765 Ill. Comp. Stat. Ann.

1065/2, by, among other things, acquiring NorthStar's Proprietary Information while knowing

that the Proprietary Information belonged to NorthStar and that it was acquired by improper

means.

                                                   38.

         Defendants breached the Illinois Trade Secrets Act, codified at 765 111. Comp. Stat. Ann.

1065/2, by, among other things, disclosing NorthStar's Proprietary Information without express

or implied consent after acquiring such information through improper means.

                                                    39.

         As a direct and proximate result of Defendants breaching the Illinois Trade Secrets Act,

NorthStar incurred damages.

         WHEREFORE NorthStar respectfully requests all damages for breach of the Illinois

Trade Secrets Act as are proven at trial, together with interest, costs and attorney's fees.
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 57 of 105




                                           COUNT IV

      BREACH OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT

                                                 .m
       NorthStar repeats and re-alleges paragraphs 1 through 38 of the Complaint as if fully set

forth herein.

                                                 41.

       Defendants breached the Illinois Uniform Deceptive Trade Practices Act, codified at 815

Ill. Comp. Stat. Ann. 510/2, by, among other things, passing off NorthStar's Proprietary

Information as its own.

                                                 42.

       Defendants further breached the Illinois Uniform Deceptive Trade Practices Act, codified

at 815 Ill. Comp. Stat. Ann. 510/2, by causing confusion and misunderstanding as to the source,

sponsorship, approval, or certification of NorthStar's Proprietary Information.

                                                 43.

       As a direct and proximate result of Defendants breaching the Illinois Uniform Deceptive

Trade Practices Act, NorthStar incurred damages.

       WHEREFORE NorthStar respectfully requests that it be awarded all damages for breach

of the Uniform Deceptive Trade Practices Act as are proven at trial, together with interest, costs

and attorney's fees.
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 58 of 105



                                           COUNT V

                                    INJUNCTIVE RELIEF



       NorthStar repeats and re-alleges paragraphs 1 through 42 of the Complaint as if fully set

forth herein.

                                                  45.

       Defendants continue to violate the Contract by the continued publication of NorthStar's

Proprietary Information on Defendants' website.

                                                  0

       NorthStar is entitled to injunctive relief pursuant to 765 I11. Comp. Stat, Ann. 1065/3 as

actual misappropriation may be enjoined in order to eliminate the commercial advantage that

would otherwise be derived from the misappropriation.

                                                  47.

       NorthStar is entitled to injunctive relief pursuant to 815 I11. Comp. Stat. Ann. 510/3 as

NorthStar is likely to be damaged by the deceptive trade practices of Defendants.



       Further, paragraph 14 of the Contract provides as follows:

       Since the violation by the Receiving Party of the provisions of this section could
       cause irreparable harm to the Disclosing Party and there is no adequate remedy at
       law for such violation, Disclosing Party shall have the right, in addition to any
       other remedies available to it at law or in equity, to enjoin the Receiving Party
       from violating such provisions.

WHEREFORE NorthStar is entitled to injunctive relief as against Defendants.
                  J




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      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 59 of 105



      WHEREFORE, NorthStar prays for:

       (a)   Breach of contract damages against Defendants in an amount to be proven at trial;

       (b)    Alternatively, unjust enrichment or quantum meruit damages against Defendants

              in an amount to be proven at trial;

       (c)   Damages pursuant to the Illinois Trade Secrets Act;

       (d)   Damages pursuant to the Illinois Uniform Deceptive Trade Practices Act;

       (e)   Injunctive Relief;

       (f)    Costs of the suit incurred herein;

       (g)    Reasonable attorneys' fees;

       (h)    Interest at the legal rate until paid in full;

      (i)    Trial by jury on issues so triable; and

      (j)     Such other and further relief as the Court may deem just and proper.



      DATED: February 17, 2017.

                                               WEINBERG, WHEELER, HUDGINS,
                                               GUNN & DIAL, LLq



                                               Ge ia Bar No.: 47751
                                               George      een, Jr.
                                               Georgia Bar No.-76 716

                                               Attorneys for Plaintiff, NorthStar Healthcare
                                               Consulting, LLC

3344 Peachtree Road, Suite 2400
Atlanta, Georgia 30326
404-876-2700
404-875-9433 Fax
dmatthewsL'ci;wwhgd.com
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                                Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 60 of 105
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      ~ Civil Action No,                                                                   State Court              ❑                Probate Court              ❑
                                                                                           Juvenile Court           ❑
       Date Filed
                                                                                              Georgia, 67-j Wl nrw~                                  COUNTY
       Attorney's Address
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       Name and Address of Party to be Served.
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                                        .L.~(A                                  ~...~~'l~ 1                   '                                          Defendant

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HO                                                        t,'aw~
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                                                               SHERIFF'S ENTRY OF SERVICE
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z
0          I have this day served to defendant                                                                                          personally with a copy
a ❑        of the within action and summons. .
w
a

           I have this day served the defendant                                                                                                      by leaving a
~          copy of the action and summons at his most notorious place of abode in this County.
0
     ❑     Delivered same into hands of                                                                                                  described as follows:
o
z          age, about                     years; weight                               pounds; height, about           feet and             inches, domiciled
           at the residence of defendant.


0                                   I 'n l~e+ '~'t '` r- ~ •i ~`1 _ t-{ ." U J, '., c 1~
~          Served the defendant 1'                                                 i:                                                               a corporation
     ❑     by leaving a copy of the within action and summons with
o
a~         in charge of the office and place of doing business of said Corporation in this County.
O
U



~          I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door
~          of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the

k❑
a
           United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said summons,
           with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the place stated in the
H
           summons.


F
;          Diligent search made and defendant
o ❑        not to be found in the jurisdiction of this Court.
z

           This       '                   day of   ' 2                , 201 7
                                                                                               -
                                                                                                                                                         DEPUTY

           SHERIFF DOCKET                                      PAGE
                           WHITE-CLERK CANARY-PLAINTIFF PINK-DEFENDANT
              Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 61 of 105


                             IN THE SUPERIOR COURT OF GWINNETT COUNTY

                                                  STATE OF GEORGIA
Northstar Healthcare Consulting, LLC

                                                                                          1)7A 01468-6
                                                                                    CIVIL ACTION
                                                                                    NUMBER:

                                     PLAINTIFF


                      VS.
Magellan Behavioral Health, Systems, LLC,

Magellan Healthcare, Inc., Magellan

Behavior Services, Inc., et al.

                                     DEFENDANT



                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and address is:
       David I. Matthews, Esq.
       Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC
       3344 Peachtree Road, NE, Suite 2400
       Atlanta, GA 30326

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, jud ment by default will be taken against you for the relief demanded in the complaint.

This           1            day of                                         , 20~


                                                                           Richard T. Alexander, Jr.,
                                                                           Clerk of Superior Court



                                                                           By
                                                                                            uty

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on            sheet if addendum sheet is used.

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       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 62 of 105
                                                                                               -OF;-,CE
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                                                                                 CtC                i COURT
                    IN THE SUPERIOR COURT OF GWINNETT COUNTY C_~ ~~~~~~~ ~~
                                 STATE OF GEORGIA         *29 11 ~EB I I PM 3: 53

NORTHSTAR HEALTHCARE                                                         fitCtlAitD f;LE n,^,t4DEit. C1_Ei~;S
CONSULTING, LLC,

       Plaintiff,
                                                 : CIVIL ACTIO 'A
V.
                                                 : FILE NO.
MAGELLAN BEHAVIORAL HEALTH
SYSTEMS, LLC, MAGELLAN
HEALTHCARE, INC., MAGELLAN
BEHAVIORAL SERVICES, INC.,
MAGELLAN HEALTH, INC., MAGELLAN
HEALTHCARE OF GEORGIA, INC.,
MAGELLAN MEDICAID
ADMINISTRATION, INC., MAGELLAN RX
MANAGEMENT, LLC

       Defendants.


                                         COMPLAINT

       COMES NOW NorthStar Healthcare Consulting, LLC ("NorthStar"), by and through

its undersigned counsel of record and files this Complaint against Magellan Behavioral Health

Systems, LLC, Magellan Healthcare, Inc., Magellan Behavioral Services, Inc., Magellan Health,

Inc., Magellan Healthcare of Georgia, Inc., Magellan Medicaid Administration, Inc., and

Magellan Rx Management, LLC (sometimes collectively referred to as "Defendants" or

"Magellan"), and hereby declares as follows:

                       THE PARTIES JURISDICTION AND VENUE



       NorthStar is an active/compliant domestic, limited liability company, duly authorized and

registered to do business in Georgia, with its principal office at 1121 Alderman Drive, Suite 112,

Fulton County, Alpharetta, Georgia 30005.
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                                                     2.

           Magellan Behavioral Health Systems, LLC is a foreign, for-profit corporation organized

    under the laws of the State of Utah with a principal office in the State of Maryland and licensed

    to do business in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr.,

    Columbia, Maryland 21046. Magellan Behavioral Health Systems, LLC and its affiliates

    solicited services from and contracted with NorthStar as set forth herein. Service can be made

    on Magellan Behavioral Health Systems, LLC by serving its registered agent: Corporation

    Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

    Georgia 30092.

                                                     3.
I
           Magellan Healthcare, Inc. is a foreign, for-profit corporation organized under the laws of

    the State of Delaware with a principal office in the State of Maryland and licensed to do business

    in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr., Columbia,

    Maryland 21046. Magellan Healthcare, Inc. and its affiliates solicited services from and

    contracted with NorthStar as set forth herein. Service can be made on Magellan Healthcare, Inc.

    by serving its registered agent: Corporation Service Company, 40 Technology Parkway South,

    Suite 300, Norcross, Gwinnett County, Georgia 30092.

                                                     n
           Magellan Behavioral Services, Inc. is a foreign, for-profit corporation organized und'er

    the laws of the State of Delaware with a principal office in the State of Maryland and licensed to

    do business in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr.,

    Columbia, Maryland 21046. Magellan Behavioral Services, Inc. and its affiliates solicited

    services from and contracted with NorthStar as set forth herein. Service can be made on



                                                    1
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 64 of 105




Magellan Behavioral Services, Inc. by serving its registered agent: Corporation Service

Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia

30092.

                                                  5.

         Magellan Health, Inc. is a foreign, for-profit corporation organized under the laws of the

State of Delaware with a principal office in the State of Arizona and licensed to do business in in

the State of Georgia, with its principal office at 4800 N. Scottdale Rd., Suite 4400, Scottsdale,

Arizona 85251. Magellan Health, Inc. and its affiliates solicited services from and contracted

with NorthStar as set forth herein. Service can be made on Magellan Health, Inc. by serving its

registered agent: Corporation Service Company, 40 Technology Parkway South, Suite 300,

Norcross, Gwinnett County, Georgia 30092.

                                                  0

         Magellan Healthcare of Georgia, Inc. is a domestic, for-profit corporation organized

under the laws of the State of Georgia with a principal office in the State of Maryland and

licensed to do business in in the State of Georgia, with its principal office at 6950 Columbia

Gateway Dr., Columbia, Maryland 21046. M'agellan Healthcare of Georgia, Inc. and its

affiliates solicited services from and contracted with NorthStar as set forth herein. Service can

be made on Magellan Healthcare of Georgia, Inc. by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                  7.

         Magellan Medicaid Administration, Inc. is a foreign, for-profit corporation organized

under the laws of the State of Virginia with a principal office in the State of Virginia and



                                                 3
      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 65 of 105



licensed to do business in in the State of Georgia, with its principal office at 11013 W. Broad

Street, Suite 500, Glen Allen, Virginia 23060. Magellan Medicaid Administration, Inc. and its

affiliates solicited services from and contracted with NorthStar as set forth herein. Service can

be made on Magellan Medicaid Administration, Inc. by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.



       Magellan Rx Management, LLC is a foreign, limited liability company organized under

the laws of the State of Delaware with a principal office in the State of Arizona and licensed to

do business in in the State of Georgia, with its principal office at 15950 N. 76Ih Street, #200,

Scottsdale, Arizona 85260. Magellan Rx Management, LLC and its affiliates solicited services

from and contracted with NorthStar as set forth herein. Service can be made on Magellan Rx

Management, LLC by serving its registered agent: Corporation Service Company, 40

Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia 30092.

                                                 a
       This Court has subject matter jurisdiction over all claims brought herein because the

Defendants each maintain a registered agent in the state of Georgia, transact business in Georgia,

and the claims are within the Superior Court's general jurisdiction.

                                                  10.

       Venue lies in the Superior Court of Gwinnett County, Georgia, because the Defendants

all maintain a registered agent in Gwinnett County.




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                                   STATEMENT OF FACTS



       NorthStar repeats and re-alleges paragraphs 1 through 10 of the Complaint as if fully set

forth herein.

                                                  12.

       On or about April 10, 2013, NorthStar entered into a contract to provide certain services

to Magellan (the "Contract"), including the sale of certain pharmacy audits and generation,

production, mailing, and tracking of outcomes relative to Verification of Benefits Letters

services ("Services").

                                                  13.

       The Contract was drafted by Magellan.

                                      ,           14.

       The Contract is governed by and in accordance with the laws of the State of Illinois.

                                                  15.

       NorthStar's scope of work was defined by the Contract and attachments. Magellan has a

copy of the Contract in its possession, custody, and control.

                                                 16.

        One of the clients that was serviced pursuant to the Contract was TennCare—the state

Medicaid program for the State of Tennessee.

                                                 17.

       In order to perform its Services under the Contract, NorthStar utilized and further

developed confidential and proprietary algorithms that are designed to find pharmacy claims that




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      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 67 of 105



are fraudulently, erroneously, or suspiciously filed, among other things ("Proprietary

Information").

                                                18.


      The Contract contains a confidentiality provision that states as follows:

      Confidential Information shall mean and include any financial, operational,
      technical and other information relating to the past, present and future businesses
      and affairs of the party disclosing the information (the "Disclosing Party"), which
      information is provided to the other party (the "Receiving Party"), whether such
      information is provided in written, oral, graphic, pictorial or recorded form or
      stored on computer disks, hard drives, magnetic tape or digital or any other
      electronic medium. The Receiving party shall use reasonable efforts to ensure that
      Confidential Information is not disclosed to any third party, except employees and
      agents as require. Confidential information provided to Seller pursuant to this
      Agreement shall, at Magellan's direction, forthwith be returned to Magellan or be
      destroyed, together with all copies made by Seller and by anyone to whom such
      confidential information has been made available by Seller. It is understood that
      the term "Confidential Information" does not mean and shall not include
      information which:

          •   now is or hereinafter becomes part of the public domain without
              breach of any obligation owed to the Disclosing Party;
          •   prior to disclosure hereunder is within the possession of the
              Receiving Party, provided that such Confidential Information is not
              the subject of another confidentiality agreement with or other
              obligation of secrecy to the Disclosing Party;
          •   is disclosed with the prior written approval of the Disclosing Party;
          •   is obligated to be produced under order of a court of competent
              jurisdiction or a valid administrative, congressional, or other
              subpoena, civil investigative demand or similar process; provided,
              however, that upon issuance of any such order, subpoena, demand or
              other process, the Receiving Party shall promptly notify. the
              Disclosing Party so that to allow the potential opportunity to obtain a
              protective order;
          •   is independently developed by the Receiving Party without any
              breach of this Agreement, as evidenced by its contemporaneous
              written records; or
          •   is necessary to establish rights or enforce obligations under this
              Agreement.




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       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 68 of 105



                                                    19.

       On or about August 14, 2013, Magellan represented to NorthStar that it needed

NorthStar's proprietary information for an internal audit.

                                                    20.

       NorthStar rejected Magellan's request for its Proprietary Information citing the sensitive

and confidential nature of the information.

                                                    21.

       On or about August 14, 2013, Magellan again requested NorthStar's Proprietary

Information stating that its mutual client, TennCare, was requesting the information.

                                                    22.

       Based on the representation that TennCare was requesting the information, NorthStar sent

a document to Magellan containing the Proprietary Information, with very minor modifications

made specific to TennCare to reflect its laws and policies.

                                                    23.

       Thereafter, Defendants rebranded NorthStar's Proprietary Information and posted it on its

website. Based upon information and belief, the Proprietary Information that NorthStar sent to

Magellan—with minor modifications made specific to TennCare to reflect its laws and

policies—was never disseminated to TennCare.

                                                    24.

       As of the filing of this Complaint, Defendants wrongfully continued to make NorthStar's

Proprietary Information available on its website.




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       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 69 of 105



                                                25.

       NorthStar has repeatedly demanded that Defendants cease making NorthStar's

Proprietary Information publicly available. However, Defendants continued to use said

Proprietary Information at certain times.

                                            COUNTI
                    BREACH OF CONTRACT AGAINST DEFENDANTS

                                                26.

       NorthStar repeats and re-alleges paragraphs 1 through 24 of the Complaint as if fully set

forth herein.

                                                27.

       Under the Contract, Defendants were - prohibited from disclosing confidential

information, including operations, technical, and other information to any third party, except as

required by employees and agents.

                                                ~'
                                                ►

       Defendants breached the Contract by disclosing, without justification, NorthStar's

Proprietary Information on its website. Defendants have been in breach of the Contract since at

least November 15, 2016, and continue to be in breach of the Contract as of the filing of this

Complaint. Defendants may have committed additional breaches of the Contract.

                                                PA

       As the direct and proximate result of Defendants' breach of contract, NorthStar has

suffered damages.




                                                :
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                                                    30.

        NorthStar has satisfied all conditions precedent entitling it to recover for breach of the

Contract.

        WHEREFORE NorthStar respectfully requests that it be awarded all damages for breach

of contract as are proven at trial, together with interest, costs and attorneys' fees.

                                              COUNT II

                        UNJUST ENRICHMENT/QUANTUM MERUIT

                                                    31.

        NorthStar repeats and re-alleges paragraphs 1 through 29 of the Complaint as if fully set

forth herein.

                                                    32.

        In the alternative, NorthStar conferred a benefit upon Defendants by rendering services

and providing materials in furtherance of Defendants' business as described herein.
                                  1

                                                    33.

       Defendants solicited, accepted and benefitted from, and have been unjustly enriched by

the Proprietary Information provided to it by NorthStar as described above, to the detriment of

NorthStar, for which NorthStar has not been compensated.

                                                    34.

       Defendants knowingly retained their ill-gotten benefit, and it would be unjust for them to

retain the same without full compensation of NorthStar.

                                                    35.

        As a direct and proximate result of .,Defendants being unjustly enriched, NorthStar

incurred damages.



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       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 71 of 105



         WHEREFORE NorthStar respectfully requests all damages for unjust enrichment as are

proven at trial, together with interest, costs and attorney's fees.

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                       BREACH OF ILLINOIS TRADE SECRETS ACT

                                                    36.

         NorthStar repeats and re-alleges paragraphs 1 through 34 of the Complaint as if fully set

forth herein.

                                                    37.

-        Defendants breached the Illinois Trade Secrets Act, codified at 765 I11. Comp. Stat. Ann.

1065/2, by, among other things, acquiring NorthStar's Proprietary Information while knowing

that the Proprietary Information belonged to NorthStar and that it was acquired by improper

means.

                                                    38.

         Defendants breached the Illinois Trade Secrets Act, codified at 765 Ill. Comp. Stat. Ann.

1065/2, by, among other things, disclosing NorthStar's Proprietary Information without express

or implied consent after acquiring such information through improper means.

                                                    39.

         As a direct and proximate result of Defendants breaching the Illinois Trade Secrets Act,

NorthStar incurred damages.

         WHEREFORE NorthStar respectfully requests all damages for breach of the Illinois

Trade Secrets Act as are proven at trial, together with interest, costs and attorney's fees.




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       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 72 of 105



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      BREACH OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT

                                                 .m

        NorthStar repeats and re-alleges paragraphs 1 through 38 of the Complaint as if fully set

forth herein.

                                                 41.

        Defendants breached the Illinois Uniform Deceptive Trade Practices Act, codified at 815

I11. Comp. Stat. Ann. 510/2, by, among other things, passing off NorthStar's Proprietary

Information as its own.

                                                 42.

       Defendants further breached the Illinois Uniform Deceptive Trade Practices Act, codified

at 815 I11. Comp. Stat. Ann. 510/2, by causing confusion and misunderstanding as to the source,

sponsorship, approval, or certification of NorthStar's Proprietary Information.

                                                 43.

       As a direct and proximate result of Defendants breaching the Illinois Uniform Deceptive

Trade Practices Act, NorthStar incurred damages.

       WHEREFORE NorthStar respectfull_v recluests that it be awarded all damages for breach

of the Uniform Deceptive Trade Practices Act as are proven at trial, together with interest, costs

and attorney's fees.
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 73 of 105



                                           COUNT V

                                    INJUNCTIVE RELIEF



       NorthStar repeats and re-alleges paragraphs 1 through 42 of the Complaint as if fully set

forth herein.

                                                  45.

       Defendants continue to violate the Contract by the continued publication of NorthStar's

Proprietary Information on Defendants' website.

                                                .m
       NorthStar is entitled to injunctive relief pursuant to 765 Ill. Comp. Stat. Ann. 1065/3 as

actual misappropriation may be enjoined in order to eliminate the commercial advantage that

would otherwise be derived from the misappropriation.

                                                  47.

       NorthStar is entitled to injunctive relief pursuant to 815 Ill. Comp. Stat. Ann. 510/3 as

NorthStar is likely to be damaged by the deceptive trade practices of Defendants.

                                                m
      Further, paragraph 14 of the Contract provides as follows:

       Since the violation by the Receiving Party of the provisions of this section could
       cause irreparable harm to the Disclosing Party and there is no adequate remedy at
       law for such violation, Disclosing Party shall have the right, in addition to any
       other remedies available to it at law or in equity, to enjoin the Receiving Party
       from violating such provisions.

WHEREFORE NorthStar is entitled to injunctive relief as against Defendants.




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          Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 74 of 105



           WHEREFORE, NorthStar prays for:

           (a)    Breach of contract damages against Defendants in an amount to be proven at trial;

           (b)    Alternatively, unjust enrichment or quantum meruit damages against Defendants

                  in an amount to be proven at trial;

           (c)    Damages pursuant to the Illinois Trade Secrets Act;

           (d)    Damages pursuant to the Illinois Uniform Deceptive Trade Practices Act;

           (e)    Injunctive Relief;

           (f)    Costs of the suit incurred herein;

           (g)    Reasonable attorneys' fees;

           (h)    Interest at the legal rate until paid in full;

           (i)    Trial by jury on issues so triable; and

           (j)    Such other and further relief as the Court may deem just and proper.



           DATED: February 17, 2017.

                                                   WEINBERG, WHEELER, HUDGINS,
                                                   GUNN & DIAL, LLq



                                                   Ge ia Bar No.: 47751
                                                   George . een, Jr.
                                                   Georgia Bar No.:  716

                                                   Attorneys for Plaintiff, NorthStar Healthcare
                                                   Consulting, LLC

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    Atlanta, Georgia 30326
    404-876-2700
    404-875-9433 Fax
    dmatthews a~w~~~hgd.com
    ogrecn~~~wwhgd.conl


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                         Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 75 of 105
     SHERIFF'S ENT4RY OF SERVICE
                                                                                O 10 ~or C~urt ~                           Magistrate Court       ❑
                                                                                          ~.,:    ❑
     Civil Action No. _                                                                   ou.. q                           Probate Court          ❑
                                                                                   Juvenile Court ❑
     Date Fi ed                                                     l -7
                                                                                        Georgia, ~~~ i h V1f                            COUNTY
     Attorney's Address
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         VvV 1 vi ~ YG                          14u4~ i vt ~; , ~'~ln~l b 1 a ~+ ~ r `                                     ~, `~ : ~         Plaintiff
                                                                           r-)L q bo                          vs.
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                                                                                                        t~f~~~,viu;>r~~ u~r
     Name and Address of Party to be Served.                                           ,       v
     ~/},
     p r~it lm           '1 ~a                (A TQ__.           Y)L I                                                                    Defendant
                                                             ~
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    H 0 ~ ( k " J~o~L~ PeA 't- ~ t,~)~. ~ ID U it) ;AA                                        50 0
                                                                                                                                           Garnishee
                                                         ~
                                                             SHERIFF'S ENTRY OF SERVICE
a    •
Q
o ❑         I have this day served to defendant                                                                                personally with a copy
a           of the within action and summons.
w
a

            I have this day served the defendant                                                                                         by leaving a
~
~           copy of the action and summons at his most notorious place of abode in this County.
0
a❑
0           Delivered same into hands of                                                                                        described as follows:
O           age, about                     years; weight                           pounds; height, about        feet and        _ inches, domiciled
z
            at the residence of defendant.

z
0
            Served the defendant                                                                                                       a corporatlon
                                         i
            by leaving a copy of the within action and summons with           f,J► - SM,%^
            in charge of the office and place of doing business of said Corporation in this County.



~           I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door
~           of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the
~ ❑         United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said summons,
~           with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the place stated in the
F
            summons.


F
w           Diligent search made and defendant
p ❑         not to be found in the jurisdiction of this Court.
z

            This   ✓ ~       day of      ~'                          , 20


                                                                                         t%                                                DEPUTY

            SHERIFF DOCKET                                   PAGE
                      WHITE-CLERK CANARY-PLAINTIFF PINK-DEFENDANT
             Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 76 of 105


                            IN THE SUPERIOR COURT OF GWINNETT COUNTY

                                                 STATE OF GEORGIA
Northstar Healthcare Consulting, LLC




                                  PLAINTiFF


                      VS.
Magellan Behavioral Health, Systems, LLC,

Magellan Healthcare, Inc., Magellan

Behavior Services, Inc., et al.

                                  DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff s attorney, whose name
and address is:
       David I. Matthews, Esq.
       Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC
       3344 Peachtree Road, NE, Suite 2400
       Atlanta, GA 30326

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This       1-7              day                                            , 20_L-Z.


                                                                           Richard T. Alexander, Jr.,
                                                                           Glerk of Superior Court



                                                                           By
                                                                                        Dep

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
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                                                              GWINtiETT CuUNTY GA
                    IN THE SUPERIOR COURT OF GWINNETT COU
                                                         N~E.EB I l PM 3: 53
                                 STATE OF GEORGIA
                                                                          ~.c;IA~D ;,t_[xnr~GE~z. c_E~i?tt
NORTHSTAR HEALTHCARE
CONSULTING, LLC,

       Plaintiff,
                                                 : CIVIL ACTION ~ p~
V.
                                                    FILE NO.
MAGELLAN BEHAVIORAL HEALTH        :
SYSTEMS, LLC, MAGELLAN            :
HEALTHCARE, INC., MAGELLAN        :
BEHAVIORAL SERVICES, INC.,        :
MAGELLAN HEALTH, INC., MAGELLAN :
HEALTHCARE OF GEORGIA, INC.,      :
MAGELLAN MEDICAID                 :
ADMINISTRATION, INC., MAGELLAN RX :
MANAGEMENT, LLC                   :

       Defendants.


                                         COMPLAINT

       COMES NOW NorthStar Healthcare Consulting, LLC ("NorthStar"), by and through

its undersigned counsel of record and files this Complaint against Magellan Behavioral Health

Systems, LLC, Magellan Healthcare, Inc., Magellan Behavioral Services, Inc., Magellan Health,

Inc., Magellan Healthcare of Georgia, Inc., Magellan Medicaid Administration, Inc., and

Magellan Rx Management, LLC (sometimes collectively referred to as "Defendants" or

"Magellan"), and hereby declares as follows:

                       THE PARTIES, JURISDICTION, AND VENUE



       NorthStar is an active/compliant domestic, limited liability company, duly authorized and

registered to do business in Georgia, with its principal office at 1121 Alderman Drive, Suite 112,

Fulton County, Alpharetta, Georgia 30005.
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                                                 Pi

       Magellan Behavioral Health Systems, LLC is a foreign, for-profit corporation organized

under the laws of the State of Utah with a principal office in the State of Maryland and licensed

to do business in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr.,

Columbia, Maryland 21046. Magellan Behavioral Health Systems, LLC and its affiliates

solicited services from and contracted with NorthStar as set forth herein. Service can be made

on Magellan Behavioral Health Systems, LLC by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                 3.


       Magellan Healthcare, Inc. is a foreign, for-profit corporation organized under the laws of
        ~
the State of Delaware with a principal office in the State of Maryland and licensed to do business

in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr., Columbia,

Maryland 21046. Magellan Healthcare, Inc. and its affiliates solicited services from and

contracted with NorthStar as set forth herein. Service can be made on Magellan Healthcare, Inc.

by serving its registered agent: Corporation Service Company, 40 Technology Parkway South,

Suite 300, Norcross, Gwinnett County, Georgia 30092.

                                                 9


       Magellan Behavioral Services, Inc. is a foreign, for-profit corporation organized under

the laws of the State of Delaware with a principal office in the State of Maryland and licensed to

do business in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr.,

Columbia, Maryland 21046. Magellan Behavioral Services, Inc. and its affiliates solicited

services froni and contracted with NorthStar as set forth herein. Service can be made on



                                                2
          Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 79 of 105




    Magellan Behavioral Services, Inc. by serving its registered agent: Corporation Service

    Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia

    30092.

                                                      0

             Magellan Health, Inc. is a foreign, for-profit corporation organized under the laws of the

    State of Delaware with a principal office in the State of Arizona and licensed to do business in in

    the State of Georgia, with its principal office at 4800 N. Scottdale Rd., Suite 4400, Scottsdale,

    Arizona 85251. Magellan Health, Inc. and its affiliates solicited services from and contracted

    with NorthStar as set forth herein. Service can be made on Magellan Health, Inc. by serving its

    registered agent: Corporation Service Company, 40 Technology Parkway South, Suite 300,

    Norcross, Gwinnett County, Georgia 30092.

                                                      on

             Magellan Healthcare of Georgia, Inc. is a domestic, for-profit corporation organized

    under the laws of the State of Georgia with a principal office in the State of Maryland and

    licensed to do business in in the State of Georgia, with its principal office at 6950 Columbia

    Gateway Dr., Columbia, Maryland 21046. Magellan Healthcare of Georgia, Inc. and its

    affiliates solicited services from and contracted with NorthStar as set forth herein. Service can

    be made on Magellan Healthcare of Georgia, Inc. by serving its registered agent: Corporation

I   Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

    Georgia 30092.

                                                      7.

             Magellan Medicaid Administration, Inc. is a foreign, for-profit corporation organized

    under the laws of the State of Virginia with a principal office in the State of Virginia and



                                                     3
      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 80 of 105



licensed to do business in in the State of Georgia, with its principal office at 11013 W. Broad

Street, Suite 500, Glen Allen, Virginia 23060. Magellan Medicaid Administration, Inc. and its

affiliates solicited services from and contracted with NorthStar as set forth herein. Service can

be made on Magellan Medicaid Administration, Inc. by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.



       Magellan Rx Management, LLC is a foreign, limited liability company organized under

the laws of the State of Delaware with a principal office in the State of Arizona and licensed to

do business in in the State of Georgia, with its principal office at 15950 N. 76`h Street, #200,

Scottsdale, Arizona 85260. Magellan Rx Management, LLC and its affiliates solicited services

from and contracted with NorthStar as set forth herein. Service can be made on Magellan Rx

Management, LLC by serving its registered agent: Corporation Service Company, 40

Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia 30092.

                                                 a
       This Court has subject matter jurisdiction over all claims brought herein because the

Defendants each maintain a registered agent in the state of Georgia, transact business in Georgia,

and the claims are within the Superior Court's general jurisdiction.

                                                 10.

       Venue lies in the Superior Court of Gwinnett County, Georgia, because the Defendants

all maintain a registered agent in Gwinnett County.




                                                 4
      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 81 of 105



                                   STATEMENT OF FACTS

                                                  11.

       NorthStar repeats and re-alleges paragraphs 1 through 10 of the Complaint as if fully set -

forth herein.

                                                  12.

       On or about April 10, 2013, NorthStar entered into a contract to provide certain services

to Magellan (the "Contract"), including the sale of certain pharmacy audits and generation,

production, mailing, and tracking of outcomes relative to Verification of Benefits Letters

services ("Services")

                                                  13.
                        ,
       The Contract was drafted by Magellan.

                                                  14.

       The Contract is governed by and in accordance with the laws of the State of Illinois.

                                                  15.

       NorthStar's scope of work was defined by the Contract and attachments. Magellan has a

copy of the Contract in its possession, custody, and control.

                                                  16.

        One of the clients that was serviced pursuant to the Contract was TennCare—the state

Medicaid program for the State of Tennessee.

                                                 17.

       In order to perform its Services under the Contract, NorthStar utilized and further

developed confidential and proprietary algorithms that are designed to find pharmacy claims that




                                                 E
     Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 82 of 105



are fraudulently, erroneously, or suspiciously filed, among other things ("Proprietary

Information")

                                                18.

      The Contract contains a confidentiality provision that states as follows:

      Confidential Information shall mean and include any financial, operational,
      technical and other information relating to the past, present and future businesses
      and affairs of the party disclosing the information (the "Disclosing Party"), which
      information is provided to the other party (the "Receiving Party"), whether such
      information is provided in written, oral, graphic, pictorial or recorded form or
      stored on computer disks, hard drives, magnetic tape or digital or any other
      electronic medium. The Receiving party shall use reasonable efforts to ensure that
      Confidential Information is not disclosed to any third party, except employees and
      agents as require. Confidential information provided to Seller pursuant to this
      Agreement shall, at Magellan's direction, forthwith be returned to Magellan or be
      destroyed, together with all copies made by Seller and by anyone to whom such
      confidential information has been made available by Seller. It is understood that
      the term "Confidential Information" does not mean and shall not include
      information which:

          •     now is or hereinafter becomes part of the public domain without '
                breach of any obligation owed to the Disclosing Party;
          •     prior to disclosure hereunder is within the possession of the
                Receiving Party, provided that such Confidential Information is not
                the subject of another confidentiality agreement with or other
                obligation of secrecy to the Disclosing Party;
          •     is disclosed with the prior written approval of the Disclosing Party;
          •     is obligated to be produced under order of a court of competent
                jurisdiction or a valid administrative, congressional, or other
                subpoena, civil investigative demand or similar process; provided,
                however, that upon issuance of any such order, subpoena, demand or
                other process, the Receiving Party shall promptly notify the
                Disclosing Party so that to allow the potential opportunity to obtain a
                protective order;
          •     is independently developed by the Receiving Party without any
                breach of this Agreement, as evidenced by its contemporaneous
                written records; or
          •     is necessary to establish rights or enforce obligations under this
                Agreement.




                                                :~
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 83 of 105



                                                    19.

       On or about August 14, 2013, Magellan represented to NorthStar that it needed

NorthStar's proprietary information for an internal audit.

                                                    20.

       NorthStar rejected Magellan's request for its Proprietary Information citing the sensitive

and confidential nature of the information.

                                                    21.

       On or about August 14, 2013, Magellan again requested NorthStar's Proprietary

Information stating that its mutual client, TennCare, was requesting the information.

                                                    22.

       Based on the representation that TennCare was requesting the information, NorthStar sent

a document to Magellan containing the Proprietary Information, with very minor modifications

made specific to TennCare to reflect its laws and policies.

                                                    23.

       Thereafter, Defendants rebranded NorthStar's Proprietary Information and posted it on its

website. Based upon information and belief, the Proprietary Information that NorthStar sent to

Magellan—with minor modifications made specific to TennCare to reflect its laws and

policies—was never disseminated to TennCare.

                                                    24.

       As of the filing of this Complaint, Defendants wrongfully continued to make NorthStar's

Proprietary Information available on its website.




                                                7
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 84 of 105



                                                25.

       NorthStar has repeatedly demanded that Defendants cease making NorthStar's

Proprietary Information publicly available.      However, Defendants continued to use said

Proprietary Information at certain times.

                                            COUNTI

                    BREACH OF CONTRACT AGAINST DEFENDANTS

                                                26:

       NorthStar repeats and re-alleges paragraphs 1 through 24 of the Complaint as if fully set

forth herein.

                                                27.

       Under the Contract, Defendants were prohibited from disclosing confidential

information, including operations, technical, and other information to any third party, except as

required by employees and agents.

                                                f► :

       Defendants breached the Contract by disclosing, without justification, NorthStar's

Proprietary Information on its website. Defendants have been in breach of the Contract since at

least November 15, 2016, and continue to be in breach of the Contract as of the filing of this

Complaint. Defendants may have committed additional breaches of the Contract.

                                ,               29.

       As the direct and proximate result of Defendants' breach of contract, NorthStar has

suffered damages.




                                                   u
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                                                    30.

       NorthStar has satisfied all conditions precedent entitling it to recover for breach of the

Contract.

        WHEREFORE NorthStar respectfully requests that it be awarded all damages for breach

of contract as are proven at trial, together with interest, costs and attorneys' fees.

                                              COUNTII

                       UNJUST ENRICHMENT/QUANTUM MERUIT

                                                    31.

       NorthStar repeats and re-alleges paragraphs 1 through 29 of the Complaint as if fully set

forth herein.

                                                    32.

       In the alternative, NorthStar conferred a benefit upon Defendants by rendering services

and providing materials in furtherance of Defendants' business as described herein.

                                                    33.

       Defendants solicited, accepted and benefitted from, and have been unjustly enriched by

the Proprietary Information provided to it by NorthStar as described above, to the detriment of

NorthStar, for wh.ich NorthStar has not been compensated.

                                                    34.

       Defendants knowingly retained their ill-gotten benefit, and it would be unjust for them to

retain the same without full compensation of NorthStar.

                                                    35

       As a direct and proximate result of Defendants being unjustly enriched, NorthStar

incurred damages.



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       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 86 of 105



         WHEREFORE NorthStar respectfully requests all damages for unjust enrichment as are

proven at trial, together with interest, costs and attorney's fees.

                                             (Yll TNT III

                       BREACH OF ILLINOIS TRADE SECRETS ACT

                                                    36.

         NorthStar repeats and re-alleges paragraphs 1 through 34 of the Complaint as if fully set

forth herein.

                                                    37.

         Defendants breached the Illinois Trade Secrets Act, codified at 765 Ill. Comp. Stat. Ann.

1065/2, by, among other things, acquiring NorthStar's Proprietary Information while knowing

that the Proprietary Information belonged to NorthStar and that it was acquired by improper

means.

                                                    38.

         Defendants breached the Illinois Trade Secrets Act, codified at 765 I11. Comp. Stat. Ann.

1065/2, by; among other things, disclosing NorthStar's Proprietary Information without express

or implied consent after acquiring such information through improper means.

                                                    39.

         As a direct and proximate result of Defendants breaching the Illinois Trade Secrets Act,

NorthStar incurred damages.

         WHEREFORE NorthStar respectfully requests all damages for breach of the Illinois

Trade Secrets Act as are proven at trial, together with interest, costs and attorney's fees.
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 87 of 105




      BREACH OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT

                                                 40.

        NorthStar repeats and re-alleges paragraphs 1 through 38 of the Complaint as if fully set

forth herein.

                                                 41.

        Defendants breached the Illinois Uniform Deceptive Trade Practices Act, codified at 815

I11. Comp. Stat. Ann. 510/2, by, among other things, passing off NorthStar's Proprietary

Information as its own.

                                                 42.

       Defendants further breached the Illinois Uniform Deceptive Trade Practices Act, codified

at 815 Ill. Comp. Stat. Ann. 510/2, by causing confusion and misunderstanding as to the source,

sponsorship, approval, or certification of NorthStar's Proprietary Information.

                                                 43.

       As a direct and proximate result of Defendants breaching the Illinois Uniform Deceptive

Trade Practices Act, NorthStar incurred damages.

       WHEREFORE NorthStar respectfull_y requests that it be awarded all damages for breach

of the Uniform Deceptive Trade Practices Act as are proven at trial, together with interest, costs

and attorney's fees.




                                                11
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 88 of 105



                                           COUNT V

                                    INJUNCTIVE RELIEF



       NorthStar repeats and re-alleges paragraphs 1 through 42 of the Complaint as if. fully set

forth herein.

                                                  45.

       Defendants continue to violate the Contract by the continued publication of NorthStar's

Proprietary Information on Defendants' website.

                                                  0

       NorthStar is entitled to injunctive relief pursuant to 765 Ill. Comp. Stat, Ann. 1065/3 as

actual misappropriation may be enjoined in order to eliminate the commercial advantage that

would otherwise be derived from the misappropriation.

                                                m
                                                       „
       NorthStar is entitled to injunctive relief pursuant to 815 I11. Comp. Stat. Ann. 510/3 as

NorthStar is likely to be damaged by the deceptive trade practices of Defendants.



      Further, paragraph 14 of the Contract provides as follows:

       Since the violation by the Receiving Party of the provisions of this section could
       cause irreparable harm to the Disclosing Party and there is no adequate remedy at
       law for such violation, Disclosing Party shall have the right, in addition to any
       other remedies available to it at law or in equity, to enjoin the Receiving Party
       from violating such provisions.

WHEREFORE NorthStar is entitled to injunctive relief as against Defendants.




                                               12
      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 89 of 105



       WHEREFORE, NorthStar prays for:

       (a)    Breach of contract damages against Defendants in an amount to be proven at trial;

       (b)    Alternatively, unjust enrichment or quantum meruit damages against Defendants

              in an amount to be proven at trial;

       (c)    Damages pursuant to the Illinois Trade Secrets Act;

       (d)    Damages pursuant to the Illinois Uniform Deceptive Trade Practices Act;

       (e)    Injunctive Relief;

       (f)    Costs of the suit incurred herein;

       (g)    Reasonable attorneys' fees;

       (h)    Interest at the legal rate until paid in full;

       (i)    Trial by jury on issues so triable; and

       (j)    Such other and further relief as the Court may deem just and proper.


                                                                               I
       DATED: February 17, 2017.

                                               WEINBERG, WHEELER, HUDGINS,
                                               GUNN & DIAL, LLq



                                               Ge ia Bar No.: 47751
                                               George      een, Jr.
                                               Georgia Bar No.:     716

                                               Attorneys for Plaintiff, NorthStar Healthcare
                                               Consulting, LLC

3344 Peachtree Road, Suite 2400
Atlanta, Georgia 30326
404-876-2700
404-875-9433 Fax
dmatthews~a!w~d.com
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                                Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 90 of 105
                                                   ~


                                'S ENTRY-OF SERVICE
                                                                               Superior Court                                 [~`]~         Magistrate Court       ❑
        Civi.l Action No.                                         ~e n 1 d64~~ State Court                                    ❑             Probate Court          ❑
        ,:                                                                     Juvenile Court                                .❑
        Date Filed                                     oC         /        /                                             •
                                                                                                                  -      I                              COUNTY
                                                                                 ~                 Georgia,
         Attorney's Address
       .~..~ t• ~ ~ ~ !_ . P-~.C~~ ~G'1E 1,~ : 1 ~ :~ `                                               r
                                                                                                                        ~
                                     ~Y4 Y1' ~           1_'~0 j~l
              ~                                                                                                                                               Plaintiff
                                                                                                                                      VS.

                                                                                                                                       Ct~lo~~t
         Name and Address of Party to be Served.                                                             ~               I
                                                                                                      ._-~~ ~ ~/~/I .> . (._- ~. ~•--- r ~ --~ • ~L.,~ ~ ~
      ~ i + lr /.". (' i lt1 Ir I    N A 1'~ ~ C4 ~'~1 rt ''~e            ~~~KI . ~.. ~_ C.-                                                              Defendant



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       l~rr ~ ~ ~' ~     }~i                                ~~~,                       '                                                                     Garnishee
                   t                     I    (,                      I   SHERIFF S ENTRY OF SERVICE
  a
  ~
  o❑              I have this day served to defendant                                                                                          personally with a copy
  a               of the within action and summons.
  w
  a

                  I have this day served the defendant                                                                                                   by leaving a
                  copy of the action and summons at his most notorious place of abode in this County.
 I
 a❑
 0                Delivered same into hands of                                                                                                  described'as follows:
 O                age, about                     years; weight                                 pounds; height, about             feet and       _ inches, domicjled
  z
                  at the residence of defendant.


  ~    / Served the defendant          ~' ~ ( u ~ ~ ~ " '' " ~r' ' ` ~ L 1 ~                                                                           a corporation
  ~d ❑~ by leaving a copy of the within action and summons with          ~
  a' in charge of the office and place of doing business of said Corporation in this County.
  O
  U
         \
          ~

 ~                I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door
 ~                of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the
 °~ ❑             United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said summons,
 ~
 Q                with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the place stated in the
 E~
                  summons.

  F                      _
  w               Diligent search made and defendant
  ❑
  p               not to be found in the jurisdiction of this Court.
  z

                  This                       day of           ~                      20 ~                                                                      ~


                                                                                                                                                             DEPUTY

                  SHERIFF DOCKET                                          PAGE
                             WHITE-CLERK CANARY-PLAINTIFF PINK-DEFENDANT
             Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 91 of 105


                            IN THE SUPERIOR COURT OF GWINNETT COUNTY

                                                 STATE OF GEORGIA
Northstar Healthcare Consulting, LLC                                             ulFA       01468m
                                                                                                                6


                                                                                   CIVIL ACTION
                                                                                   NUMBER:

                                     PLAINTIFF


                      VS.
Magellan Behavioral Health, Systems, LLC,

Magellan Healthcare, Inc., Magellan

Behavior Services, Inc., et al.

                                     DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff s attorney, whose name
and address is:
       David I. Matthews, Esq.
       Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC
       3344 Peachtree Road, NE, Suite 2400
       Atlanta, GA 30326

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This          / -7          day of               Ala                            20—a-


                                                                           Richard T. Alexander, Jr.,
                                                                           Clerk of Superior Court


                                                                                                  001
                                                                                                    0,
                                                                           By                              ~
                                                                                        Dep Cl k

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
       Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 92 of 105

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                                                            C,V~ijhq7Tl f CW0, GA.
                    IN THE SUPERIOR COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA        2011 FE$ II PM 3: 5 3

NORTHSTAR HEALTHCARE                             :                        RI rg,~~d ALU;;,;401Et, r,t4 rtit
CONSULTING, LLC,                                 :

       Plaintiff,                                ;
                                                     CIVIL ACTION ~ ~ ~ ®
                                                                                       ~~    6 e m' ,~
V.                                               :
                                  : FILE NO.
MAGELLAN BEHAVIORAL HEALTH        :
SYSTEMS, LLC, MAGELLAN            :
HEALTHCARE, 1NC., MAGELLAN        :
BEHAVIORAL SERVICES, INC.,        :
MAGELLAN HEALTH, INC., MAGELLAN :
HEALTHCARE OF GEORGIA, INC.,      :
MAGELLAN MEDICAID                 :
ADMINISTRATION, INC., MAGELLAN RX :
MANAGEMENT, LLC                   :

       Defendants.


                                         COMPLAINT

       COMES NOW NorthStar Healthcare Consulting, LLC ("NorthStar"), by and through

its undersigned counsel of record and files this Complaint against Magellan Behavioral Health

Systems, LLC, Magellan Healthcare, Inc., Magellan Behavioral Services, Inc., Magellan Health,

Inc., Magellan Healthcare of Georgia, Inc., Magellan Medicaid Administration, Inc., and

Magellan Rx Management, LLC (sometimes collectively referred to as "Defendants" or

"Magellan"), and hereby declares as follows:

                       THE PARTIES, JURISDICTION, AND VENUE



       NorthStar is an active/compliant domestic, limited liability company, duly authorized and

registered to do business in Georgia, with its principal office at 1121 Alderman Drive, Suite 112,

Fulton County, Alpharetta, Georgia 30005.
      Case 1:17-cv-01071-ODE Document 1-1 Filed 03/24/17 Page 93 of 105




                                                 2.

       Magellan Behavioral Health Systems, LLC is a foreign, for-profit corporation organized

under the laws of the State of Utah with a principal office in the State of Maryland and licensed

to do business in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr.,

Columbia, Maryland 21046. Magellan Behavioral Health Systems, LLC and its affiliates

solicited services from and contracted with NorthStar as set forth herein. Service can be made

on Magellan Behavioral Health Systems, LLC by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                 3

       Magellan Healthcare, Iric. is a foreign, for-profit corporation organized under the laws of

the State of Delaware with a principal office in the State of Maryland and licensed to do business

in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr., Columbia,

Maryland 21046. Magellan Healthcare, Inc. and its affiliates solicited services from and

contracted with NorthStar as set forth herein. Service can be made on Magellan Healthcare, Inc.

by serving its registered agent: Corporation Service Company, 40 Technology Parkway South,

Suite 300, Norcross, Gwinnett County, Georgia 30092.

                                                 9

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do business in in the State of Georgia, with its principal office at 6950 Columbia Gateway Dr.,

Columbia, Maryland 21046. Magellan Behavioral Services, Inc. and its affiliates solicited

services trom and contracted with NorthStar as set forth herein. Service can be made on



                                                2
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Magellan Behavioral Services, Inc. by serving its registered agent: Corporation Service

Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia

30092.

                                                  5.

         Magellan Health, Inc. is a foreign, for-profit corporation organized under the laws of the

State of Delaware with a principal office in the State of Arizona and licensed to do business in in

the State of Georgia, with its principal office at 4800 N. Scottdale Rd., Suite 4400, Scottsdale,

Arizona 85251. Magellan Health, Inc. and its affiliates solicited services from and contracted

with NorthStar as set forth herein. Service can be made on Magellan Health, Inc. by serving its

registered agent: Corporation Service Company, 40 Technology Parkway South, Suite 300,

Norcross, Gwinnett County, Georgia 30092.

                                                  0

         Magellan Healthcare of Georgia, Inc. is a domestic, for-profit corporation organized

under the laws of the State of Georgia with a principal office in the State of Maryland and

licensed to do business in in the State of Georgia, with its principal office at 6950 Columbia

Gateway Dr., Columbia, Maryland 21046. Magellan Healthcare of Georgia, Inc. and its

affiliates solicited services from and contracted with NorthStar as set forth herein. Service can

be made on Magellan Healthcare of Georgia, Inc. by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                  7.

         Magellan Medicaid Administration, Inc. is a foreign, for-profit corporation organized

under the laws of the State of Virginia with a principal office in the State of Virginia and



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licensed to do business in in the State of Georgia, with its principal office at 11013 W. Broad

Street, Suite 500, Glen Allen, Virginia 23060. Magellan Medicaid Administration, Inc. and its

affiliates solicited services from and contracted with NorthStar as set forth herein. Service can

be made on Magellan Medicaid Administration, Inc. by serving its registered agent: Corporation

Service Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County,

Georgia 30092.

                                                 A

       Magellan Rx Management, LLC is a foreign, limited liability company organized under

the laws of the State of Delaware with a principal office in the State of Arizona and licensed to

do business in in the State of Georgia, with its principal office at 15950 N. 76Ih Street, #200,

Scottsdale, Arizona 85260. Magellan Rx Management, LLC and its affiliates solicited services

from and contracted with NorthStar as set forth herein. Service can be made on Magellan Rx

Management, LLC by serving its registered agent: Corporation Service Company, 40

Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia 30092.

                                                 a
       This Court has subject matter jurisdiction over all claims brought herein because the

Defendants each maintain a registered agent in the state of Georgia, transact business in Georgia,

and the claims are within the Superior Court's general jurisdiction.

                                                 10.

       Venue lies in the Superior Court of Gwinnett County, Georgia, because the Defendants

all maintain a registered agent in Gwinnett County.




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                                   STATEMENT OF FACTS



       NorthStar repeats and re-alleges paragraphs 1 through 10 of the Complaint as if fully set

forth herein.

                                                 12.

       On or about April 10, 2013, NorthStar entered into a contract to provide certain services

to Magellan (the "Contract"), including the sale of certain pharmacy audits and generation,

production, mailing, and tracking of outcomes relative to Verification of Benefits Letters

services ("Services").

                                                 13.

       The Contract was drafted by Magellan.

                                                 14.

       The Contract is governed by and in accordance with the laws of the State 'of Illinois.

                                                  15.

       NorthStar's scope of work was defined by the Contract and attachments. Magellan has a

copy of the Contract in its possession, custody, and control.

                                                 16.

        One of the clients that was serviced pursuant to the Contract was TennCare—the state

Medicaid program for the State of Tennessee.

                                                 17.

       In order to perform its Services under the Contract, NorthStar utilized and further

developed confidential and proprietary algorithms that are designed to find pharmacy claims that




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are fraudulently, erroneously, or suspiciously filed, among other things ("Proprietary

Information")

                                                 18.

      The Contract contains a confidentiality provision that states as follows:

      Confidential Information shall mean and include any financial, operational,
      technical and other information relating to the past, present and future businesses
      and affairs of the party disclosing the information (the "Disclosing Party"), which
      information is provided to the other party (the "Receiving Party"), whether such
      information is provided in written, oral, graphic, pictorial or' recorded form or
      stored on computer disks, hard drives, magnetic tape or digital or any other
      electronic medium. The Receiving party shall use reasonable efforts to ensure that
      Confidential Information is not disclosed to any third party, except employees and
      agents as require. Confidential information provided to Seller pursuant to this
      Agreement shall, at Magellan's direction, forthwith be returned to Magellan or be
      destroyed, together with all copies made by Seller and by anyone to whom such
      confidential information has been made available by Seller. It is understood that
      the term "Confidential Information" does not mean and shall not include
      information which:

          •     now is or hereinafter becomes part of the public domain without
                breach of any obligation owed to, the Disclosing Party;
          •     prior to disclosure hereunder is within the possession of the
                Receiving Party, provided that such Confidential Information is not
                the subject of another confidentiality agreement with or other
                obligation of secrecy to the Disclosing Party;
          •     is disclosed with the prior written approval of the Disclosing Party;
          •     is obligated to be produced under order of a court of competent
                jurisdiction or a valid administrative, congressional, or other
                subpoena, civil investigative demand or similar process; provided,
                however, that upon issuance of any such order, subpoena; demand or
                other process, the Receiving Party shall promptly notify the
                Disclosing Party so that to allow the potential opportunity to obtain a
                protective order;
          •     is independently developed by the Receiving Party without any
                breach of this Agreement, as evidenced by its contemporaneous
                written records; or '
          •     is necessary to establish rights or enforce obligations under this
                Agreement.




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                                                    19.

        On or about August 14, 2013, Magellan represented to NorthStar that it needed

NorthStar's proprietary information for an internal audit.

                                                    20.

       NorthStar rejected Magellan's request for its Proprietary Information citing the sensitive

and confidential nature of the information.

                                                    21.

       On or about August 14, 2013, Magellan again requested NorthStar's Proprietary

Information stating that its mutual client, TennCare, was requesting the information.

                                                    22.

       Based on the representation that TennCare was requesting the information, NorthStar sent

a document to Magellan containing the Proprietary Information, with very minor modifications

made specific to TennCare to reflect its laws and policies.

                                                    23.

       Thereafter, Defendants rebranded NorthStar's Proprietary Information and posted it on its

website. Based upon information and belief, the Proprietary Information that NorthStar sent to

Magellan—with minor modifications made specific to TennCare to reflect its laws and

policies—was never disseminated to TennCare.

                                                    24.

       As of the filing of this Complaint, Defendants wrongfully continued to make NorthStar's

Proprietary Information available on its website.




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                                                25.

       NorthStar has repeatedly demanded that Defendants cease making NorthStar's

Proprietary Information publicly available.      However, Defendants continued to use said

Proprietary Information at certain times.

                                            COUNTI

                    BREACH OF CONTRACT AGAINST DEFENDANTS

                                                Rol

       NorthStar repeats and re-alleges paragraphs 1 through 24 of the Complaint as if fully set

forth herein.

                                                27.

       Under the Contract, Defendants were - prohibited from disclosing confidential

information, including operations, technical, and other information to any third party, except as

required by employees and agents.

                                                    :

       Defendants breached the Contract by disclosing, without justification, NorthStar's

Proprietary Information on its website. Defendants have been in breach of the Contract since at

least November 15, 2016, and continue to be iri breach of the Contract as of the filing of this

Complaint. Defendants may have committed additional breaches of the Contract.

                                                ►
                                                T]

       As the direct and proximate result of Defendants' breach of contract, NorthStar has

suffered damages.




                                                :
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                                                    30.

       NorthStar has satisfied all conditions precedent entitling it to recover for breach of the

Contract.

        WHEREFORE NorthStar respectfully requests that it be awarded all damages for breach

of contract as are proven at trial, together with interest, costs and attorneys' fees.

                                              COUNT II

                        UNJUST ENRICHMENT/QUANTUM MERUIT

                                                    31.

        NorthStar repeats and re-alleges paragraphs 1 through 29 of the Complaint as if fully set

forth herein.

                                                    32.

        In the alternative, NorthStar conferred a benefit upon Defendants by rendering services

and providing materials in furtherance of Defendants' business as described herein.

                                                    33.

        Defendants solicited, accepted and benefitted from, and have been unjustly enriched by

the Proprietary Information provided to it by NorthStar as described above, to the detriment of

NorthStar, for which NorthStar has not been compensated.

                                                    34.

        Defendants knowingly retained their ill-gotten benefit, and it would be unjust for them to

retain the same without full compensation of NorthStar.

                                                    35.

        As a direct and proximate result of Defendants being unjustly enriched, NorthStar

incurred damages.



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         WHEREFORE NorthStar respectfully requests all damages for unjust enrichment as are

proven at trial, together with interest, costs and attorney's fees.

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                                                      111i 1 I


                       BREACH OF ILLINOIS TRADE SECRETS ACT

                                                     36.

         NorthStar repeats and re-alleges paragraphs 1 through 34 of the Complaint as if fully set

forth herein.

                                                     37.

         Defendants breached the Illinois Trade Secrets Act, codified at 765 I11. Comp. Stat. Ann.

1065/2, by, among other things, acquiring NorthStar's Proprietary Information while knowing

that the Proprietary Information belonged to NorthStar and that it was acquired by improper

means.

                                                     38.

         Defendants breached the Illinois Trade Secrets Act, codified at 765 Ill. Comp. Stat. Ann.

1065/2, by, among other things, disclosing NorthStar's Proprietary Information without express

or implied consent after acquiring such information through improper means.

                                                     39.

         As a direct and proximate result of Defendants breaching the Illinois Trade Secrets Act,

NorthStar incurred damages.

         WHEREFORE NorthStar respectfully requests all damages for breach of the Illinois

Trade Secrets Act as are proven at trial, together with interest, costs and attorney's fees.




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                                           COUNT IV

      BREACH OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT

                                                 .m
       NorthStar repeats and re-alleges paragraphs 1 through 38 of the Complaint as if fully set

forth herein.

                                                 41.

       Defendants breached the Illinois Uniform Deceptive Trade Practices Act, codified at 815

III. Comp. Stat. Ann. 510/2, by, among other things, passing off NorthStar's Proprietary

Information as its own.

                                                 42.

       Defendants further breached the Illinois Uniform Deceptive Trade Practices Act, codified

at 815 Ill. Comp. Stat. Ann. 510/2, by causing confusion and misunderstanding as to the source,

sponsorship, approval, or certification of NorthStar's Proprietary Information.

                                                 M

       As a direct and proximate result of Defendants breaching the Illinois Uniform Deceptive

Trade Practices Act, NorthStar incurred damages.

       WHEREFORE NorthStar respectfully rectuests that it be awarded all damages for breach

of the Uniform Deceptive Trade Practices Act as are proven at trial, together with interest, costs

and attorney's fees.
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                                           COUNT V

                                    INJUNCTIVE RELIEF



       NorthStar repeats and re-alleges paragraphs 1 through 42 of the Complaint as if fully set

forth herein.

                                                  45.

       Defendants continue to violate the Contract by the continued publication of NorthStar's .

Proprietary Information on Defendants' website.

                                                m
       NorthStar is entitled to injunctive relief pursuant to 765 Ill. Comp. Stat. Ann. 1065/3 as

actual misappropriation may be enjoined in order to eliminate the commercial advantage that

would otherwise be derived from the misappropriation.

                                                  47.

       NorthStar is entitled to injunctive relief pursuant to 815 Ill. Comp. Stat. Ann. 510/3 as

NorthStar is likely to be damaged by the deceptive trade practices of Defendants.



       Further, paragraph 14 of the Contract provides as follows:

       Since the violation by the Receiving Party of the provisions of this section could
       cause irreparable harm to the Disclosing Party and there is no adequate remedy at
       law for such violation, Disclosing Party shall have the right, in addition to any
       other remedies available to it at law or in equity, to enjoin the Receiving Party
       from violating such provisions.

WHEREFORE NorthStar is entitled to injunctive relief as against Defendants.




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       WHEREFORE, NorthStar prays for:

       (a)    Breach of contract damages against Defendants in an amount to be proven at trial;

       (b)    Alternatively, unjust enrichment or quantum meruit damages against Defendants

              in an amount to be proven at trial;

       (c)    Damages pursuant to the Illinois Trade Secrets Act;

       (d)    Damages pursuant to the Illinois Uniform Deceptive Trade Practices Act;

       (e)    Injunctive Relief;

       (f)    Costs of the suit incurred herein;

       (g)    Reasonable attorneys' fees;

       (h)    Interest at the legal rate until paid in full;

      (i)     Trial by jury on issues so triable; and

      (j)     Such other and further felief as the Court may deem just and proper.



       DATED: February 17, 2017.

                                               WEINBERG, WHEELER, HUDGINS,
                                               GUNN & DIAL, LLq



                                               Ge ia Bar No.: 47751
                                               George      een, Jr.
                                               Georgia Bar No.:     716

                                               Attorneys for Plaintiff, NorthStar Healthcare
                                               Consulting, LLC

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         Name and Address of Party to be Served.                                                - t)
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~~g t ~ U`"~~ ~ I~                          F~~~~`SHERIFF'S ENTRY OF SERVICE
~
a
~ ❑            I have this day served to defendant                                                                                personally with a copy
a              of the within action and summons.
w
a,


               I have this day served the defendant                                                                                         by leaving a
~              copy of the action and summons at his most notorious place of abode in this County.
~
0
o~             Delivered same into hands of                                                                                        described as follows:
F
O              age, about                     years; weight                           pounds; height, about        feet and          inches, domiciled
z
               at the residence of defendant.

z                                                                       f                   -
~              Served the defendant                                         '~f ~' ~                                                       a corporation
~'❑            by leaving a copy of the within action and summons with               r     -:16• 1-
~              in charge of the office and place of doing business of said Corporation in this County.
O
U


a              I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door
~              of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the

k❑
u
               United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said summons,
               with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the place stated in the
H
               summons.


H
w              Diligent search made and defendant
z❑             not to be found in the jurisdiction of this Court.
z

               This ~ ~          day of        1i                     , 20; L


                                                                                            !                                                 DEPUTY

               SHERIFF DOCKET                                  PAGE
                          WHITE-CLERK CANARY-PLAINTIFF PINK-DEFENDANT
